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                                                  NO. 23-0269

                  United States Court of Appeals
                                                       for the

                                       Fourth Circuit

                             E. I. DUPONT DE NEMOURS & COMPANY;
                                THE CHEMOURS COMPANY FC, LLC,
                                                                Defendants-Petitioners,
                                                – v. –
                           BRENT NIX; VICTORIA CAREY; MARIE BURRIS;
                                           MICHAEL KISER,
                                                                 Plaintiffs-Respondents.
                                    _____________________________
                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA,
                       CASE Nos. 7:17-CV-189-D (LEAD); 7:17-CV-197-D; 7:17-CV-201-D

                       RESPONSE IN OPPOSITION TO PETITION FOR
                               PERMISSION TO APPEAL
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-269
        No. __________             Caption: __________________________________________________
                                            E.I. du Pont de Nemours & Co., et al. v. Nix, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Brent Nix, Victoria Carey, Marie Burris and Michael Kiser
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                        Respondents           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Theodore J. Leopold
        Signature: ____________________________________                     Date: ___________________
                                                                                     October 30, 2023

                     Respondents
        Counsel for: __________________________________




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                                       INTRODUCTION

              Plaintiffs’ case exemplifies a certified class whose common facts, common

        injuries, and common proofs predominate. A single pair of actors (DuPont and

        Chemours) operated a single plant (Fayetteville Works) for decades, and made the

        intentional decision to dump, rather than destroy, a unique slate of dangerous

        chemicals (PFAS) into the Cape Fear River basin. By doing so, Defendants

        contaminated public water supplies for five counties, 100,000+ homes served by

        those public water supplies, and 10,000+ homes that receive water from

        contaminated groundwater wells. When Defendants’ misconduct came to light in

        2017, Plaintiffs sued, seeking to require Defendants to clean up the homes and water

        fixtures of every property that has been (and will continue to be) compromised by

        Defendants’ PFAS.

              After exhaustively analyzing over 300 pages of motions and memoranda and

        6,000+ pages of evidentiary exhibits, including expert reports, the district court

        certified two liability classes in a 62-page Order (“Op.”): a “utility” class and a

        “groundwater” or “well” class, as well as three damages subclasses, all of which

        encompass individuals whose properties have been contaminated by measurable or

        “quantifiable” levels of Defendants’ PFAS. (Op.26, Op.59.)

              The district court’s thorough analysis shows that its certification decision is

        both unremarkable and correct. The “district court conducted a straightforward


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        analysis of the class certification requirements[,] … determined that each

        requirement had been met, and supported each … with detailed findings.” Gunnells

        v. Healthplan Servs., Inc., 348 F.3d 417, 425 (4th Cir. 2003) (cleaned up). The two

        liability classes are clearly and objectively defined to include many thousands of

        individuals who were injured by a single course of conduct and who require the same

        remedies (whole-home water filters, new water heaters, and reimbursement for

        bottled water).

              Taking issue with the district court’s eminently reasonable Order, Defendants’

        Petition (“P-”) concocts complexity and error where there is none. Defendants’ three

        attacks widely miss their mark of showing that the district court’s Order is “certain

        to be vacated on appeal from final judgment.” Lienhart v. Dryvit Sys., Inc., 255 F.3d

        138, 146 (4th Cir. 2001).

              Predominance: Defendants’ attacks on predominance ignore the fact that, to

        prove their three claims, Plaintiffs need not identify the exact dose at which

        Defendants’ PFAS are toxic. As the district court correctly held, there is no known

        “safe” PFAS level, and none of Plaintiffs’ causes of action require them to establish

        such a safety threshold.

              Superiority: The possibility of individual litigation by a small cohort of well

        owners does not preclude certification because, as the district court correctly

        reasoned, “[e]ven if … prosecuting claims individually is possible, individual claims


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        in this case are not preferable.” (Op.57.) Nor are Plaintiffs’ common-law property

        claims “immature torts”—a doctrine that this Circuit has never adopted and that

        concerns only “novel theories of recovery.”

              Irresistible Pressure: Defendants are multi-billion-dollar corporations.

        Neither makes any showing that they face “irresistible” pressure to settle this case.

                                    QUESTION PRESENTED

              Whether the Court should deny Defendants’ petition for interlocutory review

        where (1) Defendants’ predominance attack is factually unsupported and contrary to

        the substantive law underlying Plaintiffs’ claims; (2) the district court correctly

        found that a class action is superior for adjudicating Plaintiffs’ small-dollar-value

        claims; and (3) Defendants offer no evidence that they will be compelled to settle or

        that they have any meritorious defenses.

                             COUNTERSTATEMENT OF FACTS

              The Case: Since 1980, Defendants knowingly and secretly discharged a

        unique set of PFAS—a family of toxic chemicals—from their Fayetteville Works

        plant into North Carolina’s Cape Fear River, which is the drinking-water source for

        100,000+ homes. In 2011, Defendants considered installing equipment (a thermal

        oxidizer) to destroy their PFAS. But they decided it would be more profitable to

        continue discharging PFAS into drinking water, despite extensive evidence that

        PFAS are toxic. When journalists discovered the PFAS contamination, a


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        Defendant’s employee confessed to a colleague: “[W]e knew all along that it was

        bad.” (ECF-334-1 at 1.)

              Plaintiffs are the victims of Defendants’ misconduct: property holders whose

        homes and water fixtures are and continue to be contaminated by Defendants’ PFAS.

        In November 2017, Plaintiffs filed suit, bringing nuisance, trespass, and negligence

        claims. 1 They sought in damages what any property holder would want: water filters

        and replacement water heaters to guarantee clean water, and reimbursement of out-

        of-pocket costs incurred to secure clean water in the interim. (Op.36.)

              Over the next six years, the parties undertook substantial efforts to prepare

        this case for class-certification and trial. They produced hundreds of thousands of

        documents, took dozens of depositions, exchanged 40+ expert reports, and filed

        300+ pages of motions and briefs. (ECF-334 – ECF-401.)

              The Order: After reviewing this material in the context of the Rule 23

        prerequisites, the district court certified a “utility” class and a “well” class—both

        defined with precision. (Op.36-56.) The court detailed the myriad “common

        questions of law and fact” presented by Plaintiffs’ claims, and correctly noted that

        “Defendants do not appear to challenge [these] common questions.” (Op.41-42.) It



        1
          Defendants falsely state that “Plaintiffs filed suit notwithstanding the
        comprehensive Consent Order Chemours entered into with the North Carolina
        Department of Environmental Quality.” (P-4.) Plaintiffs filed suit in 2017.
        Chemours entered into the Consent Order in 2019. (ECF-342 at 6.)
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        debunked Defendants’ typicality critiques in great detail. (Op.42-44.) It explained—

        with reference to each of Plaintiffs’ specific causes of action—why common

        questions and answers predominate. (Op.44-50, Op.58.) And it explained that even

        if a small fraction of well Plaintiffs might opt-out of class representation, that did

        not defeat the superiority of class litigation for the utility Plaintiffs nor the vast

        majority of well Plaintiffs who had not brought individual suits. (Op.56-59.) 2

              The Order was not, however, an across-the-board win for Plaintiffs. The

        district court struck one of Plaintiffs’ “alternative” remedies: diminution in property

        value. (Op.56, Op.51-52.) As Plaintiffs explained, such damages in North Carolina

        are necessarily an “alternative” to remediation damages. (ECF-334-1 at 33.) The

        district court thus concluded that if “class members believe that unique

        characteristics of PFAS contamination on their property requires such a diminution-

        in-value remedy, such individuals can opt out.” (Op.52.) The court also denied

        certification as to Plaintiffs’ proposed injunctive-relief/epidemiological study

        subclass. (Op.60-61.)




        2
          The district court also certified three of four proposed damages subclasses
        consisting of remediation-and-prevention remedies (filters and replacement water
        heaters) and reimbursement for out-of-pocket costs. (Op.36, Op.48-50, Op.59.)
        Those subclasses are not the focus of Defendants’ appeal.
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                                            ARGUMENT

              Because interlocutory review is “inherently disruptive, time-consuming, and

        expensive,” Prado-Steiman v. Bush, 221 F.3d 1266, 1276 (11th Cir. 2000), Rule

        23(f) review remains “the exception, not the rule.” Lienhart, 225 F.3d at 144. This

        Court must weigh five factors to decide whether to grant Rule 23(f) review:

                     (1) whether the certification ruling is likely dispositive of
                     the litigation;

                     (2) whether the district court’s certification decision
                     contains a substantial weakness;

                     (3) whether the appeal will permit the resolution of an
                     unsettled legal question of general importance;

                     (4) the nature and status of the litigation before the district
                     court (such as the presence of outstanding dispositive
                     motions and the status of discovery); and

                     (5) the likelihood that future events will make appellate
                     review more or less appropriate.

        Id. at 144-45.

              Defendants address only the first two factors. But because they offer no

        evidence to support the first factor, see infra pp. 22-23, their appeal rests solely on

        the second factor. Unfortunately for Defendants, this means that, in this Circuit, their

        Petition fails: only “[i]n extreme cases, where decertification is a functional

        certainty” does “the weakness of the certification order … alone suffice to permit …

        review.” Id. at 145. Defendants make no such showing. The Court should therefore

        deny Defendants’ request for Rule 23(f) review.

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           I.      The District Court Correctly Tied Its Predominance Analysis to
                   Plaintiffs’ Nuisance, Trespass, and Negligence Claims.

                “Considering whether questions of law or fact common to class members

        predominate … begins, of course, with the elements of the underlying cause of

        action.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011). The

        district court’s predominance analysis followed this requirement to a “T.” It detailed

        the legal standards for Plaintiffs’ nuisance, trespass, and negligence claims. (Op.29-

        30, Op.46-47.) It understood that Plaintiffs’ legal theory was both that, for present

        contamination, “any PFAS exposure beyond a quantifiable threshold suffices” to

        show liability, and that for future contamination, the threat of “a continuing trespass

        from PFAS” independently suffices. (Op.54, Op.47.) And it correctly held that

        “regardless of the level of PFAS exposure beyond the quantifiable threshold [in any

        property], the putative class members share the ‘same factual and legal positions’

        and have ‘the same interest in establishing the liability of defendants.’” (Op.54.)

                Defendants’ attack on the district court’s (correct) predominance ruling fails

        for four reasons. First, Defendants attempt to redefine Plaintiffs’ theory of

        liability—a request the district court correctly rejected. Second, they invent an

        “injury” requirement untethered to the substantive law of Plaintiffs’ claims. Third,

        they fail to dispute that Plaintiffs may prove their claims based on the threat of future

        harm, which is identical for every member of the class. Fourth, they misrepresent



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        the Order in a desperate bid to show error—a tack that underscores the weakness of

        their Petition.

               A.     Defendants cannot rewrite Plaintiffs’ class definition and legal
                      theory.

               Defendants speculate that there “may be [] some level of PFAS in water that

        is safe.” (P-14.) 3 From this speculation, Defendants then argue that Plaintiffs’

        liability theory should turn on whether each class member’s property has PFAS

        contamination that is above or below that unknown, hypothetical “safe” level.

        (P-14.)

               Defendants cannot rewrite Plaintiffs’ class definition and liability theory.

        Plaintiffs defined their class to include all properties that have been and will continue

        to be contaminated with quantifiable levels of PFAS. (Op.36.) As the district court

        correctly recognized, “whether plaintiffs’ theory … is correct is a merits question.”

        (Op.54.) Although Defendants may argue at summary judgment or trial that

        quantifiable PFAS contamination fails to prove liability in nuisance, trespass, and

        negligence—a position flatly contradicted by North Carolina law—they cannot deny

        that “plaintiffs advance a single theory of liability, requiring no individualized

        inquiry.” Gunnells, 348 F.3d at 445.


        3
         Defendants cite no evidence to support this claim. Courts routinely “[dis]allow such
        ‘speculation and surmise to tip the decisional scales in a class certification ruling.’”
        Bridging Communities Inc. v. Top Flite Fin. Inc., 843 F.3d 1119, 1125 (6th Cir.
        2016).
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              The Sixth Circuit’s denial of Rule 23(f) review in Daffin v. Ford Motor Co.

        illustrates Defendants’ error. 458 F.3d 549 (6th Cir. 2006). There, the district court

        certified a class of minivan owners with defective throttle bodies suing Ford for

        breach of express warranty. Id. at 550. Some owners of the defective part

        experienced a sticking accelerator while others did not. Id. Ford asserted error in the

        district court’s predominance analysis, arguing that because some class members

        “ha[ve] not experienced accelerator sticking,” plaintiffs “cannot ‘prove’ an express

        warranty claim” on a class-wide basis. Id. at 553. The circuit court rejected Ford’s

        attempt to rewrite plaintiffs’ legal theory, explaining that “[w]hether the class

        members can win” under the theory that “Ford’s express warranty promises to cover

        the alleged defect … even if no sticking occurs …. is an issue that can be decided

        on the merits.” Id. The same is true here. Whether quantifiable PFAS contamination

        (now and in the future) suffices to establish liability in nuisance, trespass, or

        negligence is a merits question that can be answered singularly for Defendants and

        the classes.

              B.       Defendants’ predominance attack has no basis in the substantive
                       law of Plaintiffs’ claims.

              Defendants’ unsubstantiated assertion that PFAS contamination must exceed

        some theoretical “safe” level (P-14, P-16) has no basis in the substantive law of

        Plaintiffs’ claims. This is particularly so given that no “safe” level of PFAS has ever

        been established by law or fact.

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              As an initial matter, Defendants offer no argument that the North Carolina law

        of nuisance, trespass, or negligence require proof that a property’s contamination

        exceeds a “safe” level. Defendants barely even mention Plaintiffs’ causes of action.4

        They address none of their elements. And they cite no case holding that, for yet-to-

        be-regulated chemicals like Defendants’ PFAS, Plaintiffs’ causes of action require

        proving “exceedance” of a nonexistent “safe” level to prevail.

              This is reason to deny the Petition outright. For one, every predominance

        analysis must address “the unique elements of [plaintiffs’] claims.” EQT Prod. Co.

        v. Adair, 764 F.3d 347, 367 n.19 (4th Cir. 2014). For another, a claim-by-claim

        analysis is critical because Rule 23(c)(4) “allows for certification of a class as to a

        particular cause of action, even where a lawsuit as a whole” cannot be certified. In

        re Marriott Int’l, Inc., 78 F.4th 677, 688 (4th Cir. 2023). No error can be shown

        when Defendants gloss over Plaintiffs’ claims and their specific elements entirely.

              Regardless, North Carolina’s substantive laws of nuisance, trespass, and

        negligence do not require Plaintiffs to show exceedance of a specific threshold of

        PFAS contamination to prove liability.

              Take nuisance: in North Carolina, nuisance requires showing an unreasonable

        interference with use and enjoyment of land. (Op.29.) “The touchstone [of nuisance]



        4
         “Negligence” appears nowhere in the Petition. “Nuisance” and “trespass” appear
        only in parentheticals concerning Mississippi and Missouri law. (P-16.)
                                                  10
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        is reasonableness where the social utility of defendants’ use is balanced against the

        harm and interference with plaintiff’s use of her property.” Rudd v. Electrolux Corp.,

        982 F. Supp. 355, 369-70 (M.D.N.C. 1997). “North Carolina has not adopted an

        objective measurement” standard for establishing nuisance. McKiver v. Murphy-

        Brown, LLC, 980 F.3d 937, 962 (4th Cir. 2020). Thus, for unregulated chemicals—

        like the mixture of PFAS Defendants discharged—a plaintiff need not show a

        particular level of present contamination to establish a nuisance. (Op.49.) One reason

        is that a nuisance may be established even for a property that, although not presently

        contaminated, lives under a “threat of contamination” that “amounts to a substantial

        interference with her use of the property.” Rudd, 982 F. Supp. at 369.

              Trespass is similar: it requires possession of the property, an unauthorized

        entry, and damages flowing from that entry. (Op.29.) Petitioners’ unsubstantiated

        claim that “contamination alone does not an injury make,” (P-16), conflicts with

        North Carolina law, which requires only that an unauthorized substance “physically

        touch[]” the land. Grant v. E.I. du Pont de Nemours & Co., Inc., 1995 WL 18239435,

        at *4 (E.D.N.C. July 14, 1995), aff’d sub nom. Stancill v. E.I. du Pont de Nemours

        & Co., 91 F.3d 133 (4th Cir. 1996). Courts also reject the argument that de minimis

        touchings are unactionable. Id. at n.3; see Restatement (Second) of Torts § 163

        (1965) (“One who intentionally enters land in the possession of another is subject to

        liability to the possessor for a trespass, although his presence on the land causes no


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        harm to the land, its possessor, or to any thing or person in whose security the

        possessor has a legally protected interest.”).

              Negligence is the same: it requires showing that a defendant failed to exercise

        due care in performing a legal duty owed to the plaintiffs, and that the breach of that

        duty caused the plaintiff injury. (Op.29.) As the district court explained, because

        “plaintiffs are not alleging personal injury in this claim, plaintiffs need not establish

        that there is no safe level of PFAS exposure in drinking water for human beings or

        establish that PFAS is toxic (i.e., poisonous) to human beings.” (Op.29.)

              Plaintiffs have provided uncontradicted and unrebutted evidence that

        Defendants interfered with and harmed every class member’s property by causing

        (1) past and present PFAS contamination in measurable amounts; and (2) an ongoing

        threat of future contamination. (Op.43, Op.46; ECF-334-1 at 19-20.) Either theory

        may be used to prove liability under each of Plaintiffs’ causes of action.

              Defendants wrongly assert that “courts applying North Carolina law have

        concluded that water contamination alone—without a showing that the

        contamination exceeds regulatory standards or otherwise renders the water unsafe

        or toxic—‘fail[s] to demonstrate even a prima facie showing’ of injury or damage.”

        (P-14.) None of Defendants’ cited cases—all of which are merits decisions—stand

        for that proposition.




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              Brooks v. E.I. du Pont de Nemours & Co., 944 F. Supp. 448 (E.D.N.C. 1996);

        Adams v. A.J. Ballard, Jr. Tire & Oil Co., 2006 WL 1875965 (N.C. Super. Ct. June

        30, 2006); and In re WildeWood Litigation, 52 F.3d 499 (4th Cir. 1995), are

        irrelevant because, as the district court correctly explained, such cases concern

        “emission of chemicals that government agencies had studied and regulated.”

        (Op.49.) Here, in contrast, “defendants have not provided evidence that North

        Carolina regulatory agencies have determined a minimum safe amount of FW PFAS

        contamination or protocol to treat water contaminated with PFAS to a level with a

        safe amount of PFAS.” (Op.49.)

              Defendants also cite Berry, FAG Bearings, Rockwell, and Trail (even though

        they never cited them to the district court). (P-16.) Setting aside that none concerns

        North Carolina law, these cases support Plaintiffs:

              • In Berry v. Armstrong Rubber Co., the Fifth Circuit explained that
                Mississippi law, like North Carolina law, allows “a plaintiff [to] state a
                claim for nuisance even if the levels of toxins found on the land did not
                reach dangerous levels.” 989 F.2d 822, 829 (5th Cir. 1993). It granted
                summary judgment to Armstrong only because the plaintiffs there (unlike
                here) offered no evidence of chemicals on or threatening their land. Id.

              • In FAG Bearings Corp. v. Gulf States Paper Co., the court granted
                summary judgment on plaintiffs’ Missouri-law claims because plaintiffs
                could not attribute the contamination to the defendants. 1998 WL 919115,
                at *41 (W.D. Mo. Sept. 30, 1998). Defendants’ quoted dicta about de
                minimis concentrations of trichloroethylene (TCE) is inapt because TCE is
                a regulated chemical, rendering FAG Bearings irrelevant for the same
                reason as Brooks, Adams, and WildeWood.



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              • Similarly irrelevant is Rockwell Int’l Corp. v. Wilhite, which concerned
                PCBs (a regulated chemical) under Kentucky negligent trespass and
                nuisance law. 143 S.W.3d 604, 624 (Ky. Ct. App. 2003).

              • And in Trail v. Civil Eng’r Corps, a case interpreting Washington law,
                plaintiff’s own liability theory required proving “increased health risk[s]”
                from the contaminants—a fact that plaintiff failed to support on summary
                judgment. 849 F. Supp. 766, 767-68 (W.D. Wash. 1994).

              C.     Defendants concede that common questions predominate.

              Defendants’ Petition is also remarkable for what it fails to dispute: (1) that

        Plaintiffs may prove liability by showing a threat of future contamination; and (2)

        that even for liability based on present contamination, common questions

        predominate for all issues but supposedly one: present injury.

              This Court may deny Defendants’ Petition for the first reason alone. The

        district court’s Order explained that, under North Carolina law, the “threat of

        continued trespass” and the need to take remedial measures suffices to establish

        liability. (Op.46-47). And it correctly observed that Defendants did not dispute that

        “whether Defendants’ contamination of the Class Area with FW PFAS such that FW

        PFAS will continue to enter Plaintiffs’ properties is a continuing trespass” was a

        “common question.” (Op.41-42.) Defendants’ failure to dispute this on appeal

        confirms that Plaintiffs’ liability case is certifiable. Gunnells, 348 F.3d at 441 (Rule

        23(c)(4) allows for certification on a per-cause-of-action basis).

              Defendants also do not dispute that, to the extent Plaintiffs’ claims are based

        on present contamination, common proofs abound. For negligence: duty, breach,

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        and causation. For nuisance: whether the alleged contamination constitutes an

        unreasonable interference in use and enjoyment of land. For trespass: whether the

        entry of PFAS contaminants onto the property was unauthorized. For damages: that

        Plaintiffs’ remedy (filters, water heaters, and bottled water) are identical for every

        class member. (See Op.41-42.)

              These concessions leave Defendants at the bottom of a steep hill in their

        attempt to show manifest error. “After all, Rule 23(b)(3) requires merely that

        common issues predominate, not that all issues be common to the class.” Smilow v.

        Sw. Bell Mobile Sys., Inc., 323 F.3d 32, 39 (1st Cir. 2003) (emphasis added); see

        also In re Zetia (Ezetimibe) Antitrust Litig., 7 F.4th 227, 238 (4th Cir. 2021).

              D.     Defendants cannot show error by misrepresenting the Order.

              Unable to locate any legal error, Defendants resort to misrepresenting the

        district court’s Order and the record before it. These attacks are easily dismissed.

              Defendants say that “the district court expressly acknowledged that ‘the

        alleged PFAS contamination would not affect each property uniformly.’” (P.13

        (quoting Op.51).) It did not. The district court explained that diminution-in-value

        damages (again, a theory it excluded) depend on property-specific features separate

        from contamination: “distance to urban hubs, local government influences,

        proximities to bodies of water, and myriad economic and lifestyle influences.”

        (Op.51.)


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              Defendants assert that “No one disputes that the level of alleged [present]

        PFAS contamination varies across the properties at issue.” (P-16.) Wrong. For the

        utility class, Plaintiffs provided unchallenged, unrebutted expert testimony that

        every utility-connected property received and continues to receive uniform levels of

        PFAS. (ECF-385 at 11 & n.4.) For the well class, although present PFAS levels vary

        across the ~10,000 properties, each home’s contamination measurements—

        identified with precision in Defendants’ own state-mandated testing records–are

        sufficient to establish liability and require the same remedies. (ECF-385 at 1.)

              Defendants say that “the [district] court recognized that not all PFAS-

        containing drinking water is unsafe.” (P-7, see P-17.) This too is false. The district

        court concluded that “whether quantifiable concentrations of PFAS are unsafe or

        toxic to humans” is at most a “potential merits issue … the outcome of [which] is

        not relevant to class certification.” (Op.49.) And this was at most a “potential” issue

        because “Plaintiffs need not establish that there is no safe level of PFAS exposure in

        drinking water for human beings in order to prove the[ir] three claims.” (Op.29.)

              Defendants fault the district court for not explaining how common proof could

        show which of the parties’ competing remedies for water heaters—Plaintiffs propose

        replacement, Defendants propose “flushing”—should prevail. (P-18.) Defendants

        answered their own question by admitting in their opposition papers that the flushing

        remedy works the same for all class members. (ECF-342 at 21 & 6 n.8.)


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                 Finally, in yet another attempt at misdirection, Defendants excerpt a part of

        the Order denying Defendants’ Daubert motion against Plaintiffs’ expert, Dr. Gray,

        to suggest that the district court held that “many contaminants are not unsafe.”

        (P-14.) Dr. Gray had opined that PFAS adhere to bacteria and microbes in residential

        fixtures. Defendants sought to exclude her testimony because she did not sample the

        water for microbes and bacteria. (Op.31.) The district court rejected that argument

        as “silly” given that “[o]ne need not be a biologist to know that common tap water

        and water pipes in residences contain bacteria and other microbes.” (Op.31.) The

        district court did not liken PFAS to bacteria and microbes, as Defendants insinuate.

           II.      The District Court Correctly Determined That Class Litigation Is
                    Superior to Individual Litigation

                 Rule 23 was designed for cases like this one, where Plaintiffs’ claims are small

        (roughly $5,000 per home), but the number of Plaintiffs is large (100,000+ utility

        customers and 10,000+ well owners). After carefully evaluating the superiority

        factors, the district court found class treatment superior to individual litigation.

        Defendants argue this was an abuse of discretion because: (1) the Dew cases, which

        involve similar (though not identical) claims by 1,000+ well owners only,

        purportedly prove that individual litigation is superior; (2) Plaintiffs’ claims are

        “immature.” Both arguments fail.




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                     A.     The individual Dew cases do not defeat superiority.

              The district court correctly rejected Defendants’ argument that the

        consolidated Dew actions negate superiority of Plaintiffs’ class. 5 Rule 23(b)(3) asks

        whether class treatment “is superior to other available methods for fairly and

        efficiently adjudicating the controversy.” By its text, the rule presumes there are

        “other available methods.” It does not require that a class action be the “only”

        method of adjudication, just that it be “superior.”

              Applying that standard, the district court found class treatment superior to

        individual litigation. Because Judge Dever presides over Dew, he acknowledged the

        individual cases but explained that Dew at most represented “approximately 1% of

        putative class members”—i.e., 99% of potential Plaintiffs have demonstrated no

        interest in individual litigation. (Op.57.) He also found that class treatment was more

        efficient than individual litigation given that class members’ “relatively small

        individual damages, even if consolidated, are minimal when compared to the time

        and expense needed to pursue individual recovery.” (Op.58.)

              Defendants do not dispute that the individual cases represent at most 1% of

        all Plaintiffs. But they insist that “Dew’s existence” proves the superiority of

        individual litigation. (P-23.) This argument squarely conflicts with this Court’s prior



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          Defendants incorrectly claim that “Plaintiffs ignored Dew below.” (P-23.)
        Plaintiffs’ class certification motion extensively addressed Dew. (ECF-334-1 at 39.)
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        precedent. In Gunnells, this Court affirmed a district court’s superiority finding

        where existing individual actions amounted to 1.2% of the potential class. This Court

        explained that it was “common sense” that the mere existence of “seventeen already-

        commenced [individual] actions … did not make individual actions superior in a

        case involving over 1400 potential litigants.” 348 F.3d at 432.

              Similarly, in Stillmock v. Weis Markets, Inc., this Court reversed a denial of

        class certification where the district court reasoned that the availability of bellwether

        “test case[s]” defeated superiority. 385 F. App’x 267, 273-74 (4th Cir. 2010). This

        Court held instead that “there [was] no reasoned basis to conclude” that the

        availability of small recoveries plus attorneys’ fees in such cases would “result in

        enforcement … by individual actions of a scale comparable to the potential

        enforcement by way of class action.” Id. at 274. The same is true here. Defendants

        offer no rationale or evidence to suggest that individual, small-value litigation will

        even remotely serve the 110,000+ Plaintiffs that will benefit from class-wide

        litigation and recovery, even if they implausibly speculate that individual litigation

        will be less “time- and cost- intensive than this lumbering class.” (P-23.)

              Defendants also do not dispute that not one member of the 100,000+ utility

        class has filed an individual suit. (ECF-385 at 16.) Defendants speculate that because

        “utility plaintiffs and groundwater plaintiffs seek the same damages … Dew’s

        existence proves that there is no impediment to utility customers’ filing individual


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        suits.” (P-23.) If true, why have none done so? Regardless, the individual Dew

        plaintiffs’ claims are not identical to class members’ claims, including because they

        seek a different set of damages like “cleaning” and “test” costs, “loss of use and

        enjoyment,” and “reduced value of property and business.” Case No. 5:20-cv-00208-

        D, Dkt. 1 ¶ 113 (E.D.N.C.).

                     B.     This case is not an “immature tort.”

              Defendants’ other argument turns on the Fifth Circuit’s “immature tort”

        theory, which this Court has never endorsed, and which is, in any case, irrelevant.

              The “immature tort” theory operates in select jurisdictions to prioritize

        individual litigation where plaintiffs assert sprawling, “novel and wholly untested

        theor[ies]” of liability, like whether “nicotine addiction” suffices to state a claim

        under “nine causes of action” from “every state” in the country. Castano v. Am.

        Tobacco Co., 84 F.3d 734, 737, 750 (5th Cir. 1996). Defendants have not identified

        a single case—let alone one from this Circuit—applying the “immature tort” theory

        to run-of-the-mill property-damage claims. 6

              Defendants’ only basis for claiming that these torts are “immature” is their

        assertion that, for “the vast majority of PFAS on Plaintiffs’ list … there is little or


        6
         See Emig v. Am. Tobacco Co., 184 F.R.D. 379 (D. Kan. 1998) (same “novel” theory
        as Castano); Arch v. Am. Tobacco Co., 17 F.R.D. 469 (E.D. Pa. 1997) (same); Phillip
        Morris, Inc. v. Angeletti, 752 A.2d 200 (Md. Ct. App. 2000) (same); Rink v.
        Cheminova, Inc., 203 F.R.D. 648 (M.D. Fla. 2001) (finding theory applicable to
        medical-monitoring claims but not property claims).
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        no data on … biopersistence, toxicology, or human health risks.” (P-9.) This

        argument entirely ignores the basis for Plaintiffs’ negligence claim: Defendants

        violated the industry standard of care precisely because, despite the warning signs

        that PFAS were toxic at low doses, Defendants dumped PFAS into drinking water

        without first conducting any toxicity tests to protect community health. Defendants

        also ignore the handful of toxicity tests they did conduct, which suggest that PFAS

        share a chemical structure that makes them toxic. (ECF-334-1 at 3, 5, 10.) Indeed,

        decades of scientific research suggests that PFAS—as a class—cause adverse health

        outcomes. Id.

              It also makes no difference that, while Defendants have been sued repeatedly

        for contaminating drinking water with PFAS, some of the PFAS at issue here have

        never been presented at trial. (P-24.) Superiority does not concern the legal history

        of specific pollutants but rather “the likely difficulties in managing a class action.”

        Fed. R. Civ. P. 23(b)(3). In this regard, the differences between this case and Castano

        could not be starker. The management challenges in Castano included “choice of

        law determinations, subclassing of eight claims with variation in state law, Erie

        guesses, notice to millions of class members, further subclassing to take account of

        transient plaintiffs, and the difficult procedure for determining who is nicotine-

        dependent.” Castano, 84 F.3d at 747. As the district court correctly held, no such

        challenges arise here, where “the putative class members in this case all reside in


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        North Carolina, allegedly were damaged in North Carolina, and North Carolina law

        applies.” (Op.58-59.)

           III.   Class Certification Is Not Dispositive of the Litigation.

              In rare cases, class certification “creates irresistible pressure on the defendant

        to settle[.]” Lienhart, 255 F.3d at 143. Interlocutory review thus “may be

        appropriate” where “plaintiff’s probability of success on the merits is slight.” Id.

        This is not such a case. Although Defendants would have the Court believe they face

        “irresistible pressure” to settle, they muster no evidence in support.

              To show “irresistible pressure,” Defendants must offer actual “evidence” of

        such pressure. In re Lorazepam and Clorazepate Antitrust Litig., 289 F.3d 98, 108

        (D.C. Cir. 2002). “[C]onclusory” claims “not backed up by declarations, documents,

        or other evidence” are insufficient. Chamberlain v. Ford Motor Co., 402 F.3d 952,

        960 (9th Cir. 2005); see also In re Delta Air Lines, 310 F.3d 953, 960 (6th Cir. 2002)

        (“a general assertion” of pressure is insufficient). Defendants offer no such evidence.

        At best, Defendants point to the administrative costs of class “notice.” (P-27.) But

        Plaintiffs bear such costs, not Defendants.

              That Defendants’ argument is so perfunctory is likely because they can afford

        to litigate this case and pay damages. “[W]hat might be ‘ruinous’ to a company of

        modest size might be merely unpleasant to a behemoth[.]” Waste Mgmt. Holdings,

        Inc. v. Mowbray, 208 F.3d 288, 294 (1st Cir. 2000). Defendants are unquestionably


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        behemoths. Chemours netted $6.8 billion in annual sales in 2022 and ended the year

        with $1+ billion in cash/cash-equivalents. DuPont exceeded $13 billion in revenue

        and held nearly $5 billion in cash/cash-equivalents. 7 Both can afford to litigate this

        case to judgment.

              Defendants also never argue that “the plaintiff’s probability of success on the

        merits is slight,” Lienhart, 255 F.3d at 143, further demonstrating that no review is

        warranted here. See In re Lorazepam, 289 F.3d at 108 (Defendant must show

        “pressure” that would force settlement “without relation to the merits of the class’s

        claims”).

                                          CONCLUSION

              Defendants have shown no “manifest” error by the district court. The Petition

        should be denied.


        Dated: 10/30/2023
                                                    SUBMITTED BY:

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            Chemours SEC Form 10-K, at 84, 98 (Feb. 10, 2023),
        https://d18rn0p25nwr6d.cloudfront.net/CIK-0001627223/647533d7-426f-47fd-
        b580-019b2be85577.pdf; DuPont SEC Form 10-K, at 41, 87 (Feb. 13, 2023),
        https://s23.q4cdn.com/116192123/files/doc_financials/2022/ar/2022-10-K-
        Final.pdf.
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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                      Effective 12/01/2016

           23-269
      No. ____________                  E. I. duPont de Nemours & Company v. Brent Nix
                               Caption: __________________________________________________

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      (s) Theodore J. Leopold

      Party Name respondents

      Dated: 10/30/2023
                                                                                               11/14/2016 SCC
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                                  CERTIFICATE OF SERVICE


                          10/30/2023
        I certify that on _________________    the foregoing document was served on all parties or their
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                                                                    ________________________
              Signature                                                        Date
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                                 ATTACHMENT:
                  The District Court’s October 4, 2023, Order, ECF-420 (“Op.”)

                   Pursuant to Federal Rule of Appellate Procedure 5(b)(1)(e)(i)
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                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         SOUTHERN DMSION


        BRENT NIX, et al.,                                  )
                                                            )
                                        Plaintiffs,         )
                                                            )
                            v.                              )           No. 7:17-CV-189-D
                                                            )
        THE CHEMOURS COMPANY FC,                            )
                                                            )
                                                            )
                                        Defendants.         )
                                                            )
        ROGER MORTON, et al.,                               )
                                                            )
                                        Plaintiffs,         )
                                                            )
                            v.                              )           No. 7:17-CV-197-D
                                                            )
        THE CHEMOURS COMPANY, et al.,                       )
                                                            )
                                        Defendants.         )
                                                            )
        VICTORIA CAREY et al.,                              )
                                                            )
                                        Plaintiffs,         )
                                                            )
                            v.                              )           No. 7:17-CV-201-D
                                                            )
        E.I. DU PONT DE NEMOURS AND                         )
        COMPANY, et al.,                                    )
                                                            )
                                        Defendants.         )

                                                       ORDER

               On May 18, 2022, Victoria Carey ("Carey"), Marie Burris ("Burris"), Michael Kiser

        ("Kiser''), and Brent Nix (''Nix") (collectively, "plaintiffs") moved for class certification [D.E. 334]

        and filed a memorandum oflaw [D.E. 334-1] and exhibits in support [D.E. 336]. On July 13, 2022,
                                                                   I


        the E.I. Du Pont de Nemours and Company ("DuPont") and The Chemours Company FC, LLC



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        ("Chem.ours") (collectively, "defendants") responded in opposition [D.E. 342]. On August 29, 2022,

        the plaintiffs replied [D.E. 385]. On September 26, 2022, defendants filed a sur-reply in opposition

        [D.E. 397]. On October 11, 2022, plaintiffs filed a sur-surreply [D.E. 401-1].

               On July 13, 2022, defendants moved for partial judgment on the pleadings [D.E. 346] and

        filed a memorandum of support [D.E. 347]. On August 29, 2022, plaintiffs responded in opposition

        [D.E. 379]. On September 26, 2022, defendants replied [D.E. 396].

               On July 13, 2022, defendants moved to exclude the expert testimony ofDr. David L. Sunding

        ("Sunding'') [D.E. 348], David L. Duncklee ("Duncklee") [D.E. 354], R. Bruce Gamble ("Gamble")

        [D.E. 356], Dr. Jamie C. DeWitt ("DeWitt") and Dr. Richard DeGrandchamp ("DeGrandchamp")

        [D.E. 357], and Dr. Kimberly A. Gray ("Gray'') and Roger W. Griffith ("Griffith") [D.E. 359] and

        filed memoranda in support [D.E. 349, 353, 355, 358, 360]. On August 29, 2022, plaintiffs

        responded in opposition [D.E. 377, 378, 381, 383-84]. On September 26, 2022, defendants replied

        [D.E. 391-95].

               On July 13, 2022, defendants moved to stay proceedings [D.E. 361] andfiledamemorandum

        in support [D.E. 362]. On August 29, 2022, plaintiffs responded in opposition [D.E. 380]. On

        September 26, 2022, defendants replied [D.E. 398]. On March 31, 2023, the court denied

        defendants' motion to stay and expounds on the reasons ~ this order.

               On June 6, 2023, the court held that it would not grant certification on plaintiffs' proposed

        "Health Study Injunctive and Declaratory Relief Subclass" consisting of"[a]ll Class Members who

        consent to participate in the epidemiological study." [D.E. 410-1] 1-2 (quotation omitted). The

        court also asked the parties to provide an update on possible settlement. See id. at 2-3. On

        September 13, 2023, the parties engaged in court-hosted mediation with United States Magistrate

        Judge Gates. See [D.E.412-419]. The mediation did not resolve the case. See [D.E. 419].

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                 As explained below, the court denies as moot defendants' motion for partial judgment on the

        pleadings and denies defendants' motion to exclude testimony of plaintiffs' experts Sunding,

        Gamble, and Gray and Griffith. The court grants defendants' motion to exclude the testimony of

        Duncklee, DeWitt, and DeGrandchamp. The court grants in part and denies in part plaintiffs'

        motion for class certification.

                                                           I.

                                                           A.

                 The plaintiffs' claims concern defendants' discharge of wastewater allegedly containing

        per.fluorinated compounds ("PFCs"), notably GenX. See Am. Consol. Class Action Compl. [D.E.

        132-1] ff 1-2. PFCs are chemical compounds in which carbon-fluorine bonds replace all of the
             '
        carbon-hydrogen bonds. Cf. id. at ff 19-20. PFCs are classified and named based on the length of

        the carbon chain in the molecule and any functional group attached to the chain. See id. at ff 20,

        23. PFCs degrade slowly under environmental conditions, and plaintiffs allege that some PFCs

        ''persist in the environment for over 2,000 years." Id. at ,r 23; see id. at ,r,r 24--25. PFCs, including

        GenX and per:fluorooctanoic acid ("PFOA"), have been manufactured for use in various commercial

        products. See id. at ,r,r 1, 19, 26--27; cf. id. at ff 28-83. In total, plaintiffs allege that defendants

        discharged 17 different PFCs into the Cape Fear River. See id. at ,r 87.

                 Plaintiffs allege that "PFCs are highly toxic to humans" and that "[s]cientists have linked

        PFCs to kidney cancer, testicul~ cancer, prostate cancer, ovarian cancer, non-Hodgkin lymphoma,

        liver disease, ulcerative colitis, thyroid disease, hypercholesterolemia, and pr~gnancy-induced

        hypertension, among other illnesses." Id. at ,r 21. Plaintiffs discuss research concerning the toxicity

        ofPFOA. See id. atff 26--32, 34--39, 41, 43-44, 51-52. Plaintiffs also discuss studies ofGenX's

        toxicity. See id. at ff 60-62, 65, 68-69, 71-75, 78. Plaintiffs allege that the studies indicate that

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        rodents exposed to GenX developed "liver cell damage that could be a precursor to cancer'' and had

        "a higher incidence of liver tumors, pancreatic tumors, and testicular tumors." Id. at ff 65, 69.

        Although GenX' s toxicity has been studied only in rodents, plaintiffs state that GenX is chemically

        similar to PFOA, which is toxic to humans. See id. at ,r 79. Plaintiffs also note that the

        Environmental Protection Agency ("EPA") established a lifetime health advisory level for PFOA

        and a related compound (perfluorooctane sulfonate or "PFOS") of 70 parts per trillion (''ppt") in

        drinking water. See id. at ,r 22. Relatedly, North Carolina adopted a preliminary health-based goal

        of 140 ppt for GenX. Id.; see id. at ,r 92.

               The Fayetteville Works plant is located in Fayetteville, North Carolina, and plaintiffs allege

        that the Fayetteville plant discharged wastewater into the Cape Fear River. See id. at ff 2, 14.

        DuPont constructed the Fayetteville Works plant in the 1970s and owned it until February 1, 2015.

        See id. at ,r 14. On February 1, 2015, Chemours acquired the Fayetteville Works plant from DuPont.

        See id. at ,r 15. In July 2015, Chemours separated from DuPont. See id.

               The Fayetteville Works plant has at least five manufacturing areas dedicated to

        fluoromonomers/Nafion, polymer processing aid, Butacite, SentryGlas, and polyvinyl fluoride. See

        id. at ,r 16. Plaintiffs allege that, from the 1950s until the early 2000s, DuPont ''relied heavily on

        PFOA ... to make Teflon and other non-stick products." Id. at ,r 26. Initially, DuPont purchased

        PFOA from the 3M Company ("3M''). See id. at ff 34, 44. Both DuPont and 3M investigated the

        toxicological properties ofPFOA during this time. Plaintiffs allege that DuPont was aware of safety

        risks associated with PFOA as early as the 1960s, well before DuPont opened the Fayetteville Works

        plant. See id. at ff 29-33. Nevertheless, DuPont discharged wastewater containing PFOA and other
                                           ,
        PFCs into the Cape Fear River and into ''unlined biosludge settlement lagoons" that DuPont "knew

        or should have known ... would flow into the Cape Fear River." Id. at ff 33, 37.

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               Plaintiffs allege that, by 2000, 3M decided to stop manufacturing PFOA because of PFOA's

        toxicity, and Du.Pont began manufacturing PFOA at the Fayetteville Works plant itself. See id. at

        fl 44, 47. Plaintiffs allege that DuPont misrepresented facts to the North Carolina Department of
        Environmental Quality ("DEQ") about PFOA in reapplying for its National Pollutant Discharge

        Rlimination System (''NPDES") permit. See id. at fl 45-46, 48-50. For example, plaintiffs allege

        that DuPont represented that it did not discharge wastewater from the Fayetteville Works plant into

        the Cape Fear River. See id. at 149. Moreover, plaintiffs allege that Du.Pont continued to discharge

        PFOA into the Cape Fear River even after the results of''the first comprehensive study ofthe effects

        of PFOA on human health ... confirmed that PFOA causes cancer and a host of other health

        problems in humans." Id. at 1 51. Plaintiffs also allege that DuPont did not report numerous PFOA

        spills that occurred between 2011 and 2013. See id. at 154.

               As the EPA learned of the dangers associated with PFOA, DuPont began to search for a

        replacement for PFOA. See id. at 158. DuPont selected GenX as the replacement for PFOA. See

        id. Plaintiffs allege that Du.Pont had been discharging GenX into the Cape Fear River since the

        1980s. See id. at fl 55-57. In 2009, DuPont and the EPA ''reached a consent order pmsuant to the

        Toxic Substances Control Act" to replace PFOA with GenX. Id. at 159. DuPont represented that

        GenX would be safer than PFOA because it would biodegrade more quickly than PFOA. See id.

        As part of the consent order, DuPont had to investigate the toxicological properties of GenX and to

        ''recover and captme (destroy) or recycle GenX from all the process wastewater effluent streams and

        air emissions ... at an overall efficiency of 99%." Id. (quotation and alteration omitted). ·

               On March 15, 2010, DuPont submitted a study to the EPA showing that GenX, like PFOA,

        was not biodegradable. See id. at 160. In July 2010, DuPont submitted the results from animal

        studies that showed that rodents exposed to GenX experienced numerous adverse health

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        consequences, including birth defects, liver necrosis, and cellular deformation indicative of liver

        disease and early-stage cancer. See id. at ,r,r 61--62. Du.Pont conducted additional studies, and

        plaintiffs allege that each study indicated that GenX was likely toxic to humans. See id. at ,r,r 65--66,

        68-75. Despite the results ofthe studies and the consent order, plaintiffs allege that Du.Pont and later

        Chem.oms continued to discharge GenX into ''the Cape Fear River, the groundwater, and the air

        smrounding the Fayetteville Works plant." Id. at ,r 63; see id. at ,r,r 64, 81, 83.

               As part of a study of PFCs in Wilmington's water supply, Dr. Detlef Knappe ("Knappe"),

        a professor at North Carolina State University, collected water samples from the Cape Fear River.

        See id. at ,r 84. On May 3, 2016, Knappe contacted the Cape Fear Public Utility Authority

        ("CFPUA") and told the CFPUA that he detected GenX and other PFCs in the water "at the CFPUA

        intake" at an average concentration of 631 ppt. Id. On November 10, 2016, Knappe and his co-

        authors published the results of the study. See id. at ,r 85. On November 23, 2016, Knappe shared

        his research with DEQ and numerous "city and county water treatment plants" and noted that "levels

        of GenX were very high in Wilmington and that none of the newly discovered compounds being

        discharged by the Chem.oms plant were being removed by the city's ... treatment plant." Id. at ,r

        86 (quotation omitted); see id. at ,r 87 (listing the 17 PFCs detected in the Cape Fear River

        watershed). In response to Knappe's research, North Carolina set the preUminary health goal for

        GenX of 140 ppt. See, e.g., id. at ,r 92.

               Knappe' s research raised awareness ofdefendants' practices at the Fayetteville Works plant.

        Plaintiffs allege that, on June 15, 2017, Chem.oms admitted to state and local regulators that it had

        been discharging GenX into the Cape Fear River for approximately fom decades. See id. at ,r 93.

        On June 19, 2017, DEQ tested water samples from 13 locations along the Cape Fear River in

        Wilmington and Fayetteville, and DEQ found that "finished water from fom water treatments plants

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        had GenX concentrations exceeding the state's [health goal] of 140 ppt." Id. at ,r 95. On July 10,

        2017, DEQ received data from a third-party laboratory in Colorado that detected GenX

        concentrations exceeding 39,000 ppt in raw water and exceeding 790 ppt in finished water. See id.

        at ,r 97. On August 31, 2017, the EPA announced that it had discovered two additional PFCs,

        byproducts of defendants' manufacturing ofNafion, at concentrations exceeding the EPA's health

        advisory level of 70 ppt for long-chain PFCs. See id. at ,r 98. Around the same time, the North

        Carolina Department of Water Resources ("DWR") tested 14 groundwater-monitoring wells, and

        DWR detected GenX at high concentrations in 13 ofthe wells. See id. at ,r 99. One ofthe wells was

        upstream ofthe Fayetteville Works plant, which plaintiffs allege suggests that defendants discharged

        GenX and other PFCs into the air. See id. Plaintiffs allege that defendants have discharged GenX

        into the Cape Fear River and the soil, air, and groundwater surrounding the Fayetteville Works plant

        since at least 1980. See,~, id. at ,r 1.

               On September 5, 2017, DWR filed a notice of intent to suspend Chemours's NPDES permit

        because "Chemours misrepresented and failed to disclose fully all relevant facts." Id. at ,r 100

        (quotation and alterations omitted). Later that month, Chemours and DEQ tested private wells

        within a one-mile radius of the Fayetteville Works plant, and DEQ ordered Chemours to supply

        bottled drinking water to individuals whose private wells contained GenX at concentrations

        exceeding the state's health goal of 140 ppt. See id. at ,r 103. On November 3, 2017, DEQ inspected

        the Fayetteville Works plant and learned that Chemours had spilled an unknown quantity of a

        chemical precursor to GenX in October 2017 and had not disclosed the event. See id. at ,r 104. On

        November 16, 2017, DEQ moved to partially suspend Chemours's NPDES permit. See id. at,r 105.

        DEQ subsequently learned of additional pollution, and plaintiffs allege that additional testing

        indicated that GenX and other PFCs had co11taminated both the Cape Fear watershed and the

                                                         7

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         surrounding airshed. See id. at fl 106-07. For example, investigators found GenX in plants,

        vegetables, and honey. See id. at fl 108--09.

                                                          B.

                Plaintiffs are individuals who reside in counties ''that use the Cape Fear River as a primary

        source of drinking water." .Id. at 1 2. Carey resides in Leland, North Carolina, which is in

        Brunswick County. See id. at fl 10, 118. Burris resides in Bunnlevel, North Carolina, which is in

        Harnett County. Burris owns property that she previously resided in and currently rents out in

        Fayetteville, North Carolina, which is in Cumberland County. See id. at fl 11, 123. Kiser and Nix

        reside in Wilmington, North Carolina, wlµch is in New Hanover County. See id. at 1126--27.

        Plaintiffs filed this class action "on behalf of the thousands of residents, property owners, and

        business owners who have experienced, and will continue to experience, serious harm from

        [d]efendants' conduct." Id. at 15,

               Carey alleges that she and her husband have resided in Leland, North Carolina, and regularly

        used water from the Cape Fear River since 2002. See id. at 1118-19. Carey had her home tested

        for PFCs and found GenX present in concentrations that exceeded North Carolina's pre1iminary

        health goal. See id. at 1 120. Additionally, Carey has been diagnosed with thyroid nodules, a goiter,

        hyperthyroidism, and an idiopathic immune condition, and her husband has been diagnosed with a

        similar thyroid condition. See id. at 1 121. Plaintiffs allege that these illnesses comport with those

        caused by exposure to PFCs including GenX. See id.

               Burris.alleges that she resided in Fayetteville, North Carolina, near the Fayetteville Works

        plant for eleven years. See id. at 1123. In 2015, Burris moved to Bunnlevel, North Carolina, and

        she now rents out the property in Fayetteville. See id. In October 2017, the DEQ informed Burris

        that the drinking water at her Fayetteville property contained GenX at a concentration of 322 ppt.

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         See id. at 1 124. DEQ recommended that the current resident not drink the water, and the resident

        now relies on bottled water that Chem.ours provides. See id. at 1 125.

                Kiser has resided in Wilmington, North Carolina since 1993. See id. at 1126. Kiser has

        been diagnosed with colon cancer and stomach cancer. See id. Kiser has ulcers and cysts on his

        liver and intestines. See id. Plaintiffs allege that these illnesses comport with those caused by

        exposure to PFCs including GenX. See id.

                Nix has resided in Wilmington, North Carolina, since approximately 2011. •See id. at 1127.

        Nix is a triathlete and consumes "a great deal of water." Id. at 1128. Since learning about GenX,

        Nix only drinks bottled water, which costs him approximately $100 per month. See id. A doctor

        diagnosed Nix with ulcerative colitis and diverticulitis. See id. at 1129. Plaintiffs allege that these

        illnesses comport with those caused by exposure to PFCs including GenX. See id. at 1 130.

                Plaintiffs seek to represent the class of individuals who have resided in the counties

        surrounding the Fayetteville Works plant since 2015 (the "class"). See id. at 1 131. Plaintiffs allege

        that the injuries that they suffered are typical of the class and include personal injury and harm to·

        property. See id. at 1135. As for harm to property, plaintiffs allege that, because it "will be very

        difficult to remove [GenX and other PFCs] from North Carolina residents' pipes, fittings, and

        fixtures," plumbing and fixtures must be replaced inside homes and businesses, bottled water must

        be provided until water is safe to drink, and water filtration systems must be installed to filter GenX

        and other PFCs. See id. at ft 111-17. Plaintiffs also allege that no system exists to filter GenX or

        other PFCs from the water supply. See id. at 1116.

                On January 31, 2018, plaintiffs filed a consolidated class action complaint alleging

        negligence, gross negligence, negligence per· se, public nuisance, private nuisance, trespass, and

        unjust enrichment [D.E. 53]. Plaintiffs seek compensatory damages, punitive damages, and

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        injunctive relief including repairs to private property, funding of an epidemiological study to

        investigate GenX and other PFCs, and "establishment of medical monitoring to provide health care

        and other appropriate services to [c]lass members for a period of time deemed appropriate." Id. at

        46-47. On April 19, 2019, the court granted in part defendants' motion to dismiss count three

        (negligence per g), count four (public nuisance), and count six (unjust enrichment) [D.E. 109]. The

        court also rejected plaintiffs' request for medical monitoring, holding that North Carolina law does

        not recognize "an independent cause of action for medical monitoring." Id. at 21.

                On August 30, 2019, plaintiffs filed a First Amended Consolidated Class Action Complaint

        [D.E. 132-1]. On September 13, 2019, defendants moved again to dismiss the negligence pg se,

        public nuisance, and unjust enrichment claims re-alleged in the amended complaint. See [D.E. 135,

         136]. Defendants also moved to again dismiss plaintiffs' medical monitoring claims pursuant to the

        court's April 19, 2019 order. See id. On September 24, 2020 the court granted defendants' motion,

        dismissing once again plaintiffs' negligence pg se, public nuisance, unjust enrichment, and medical

        monitoring claims. See [D.E. 249].

                                                        II.

                Defendants move to stay proceedings because the remedies plaintiffs seek allegedly conflict

        with the remedies required under the. NCDEQ Consent Order entered in state court "and the

        associated ongoing regulatory process." [D.E. 361] 1; cf. [D.E. 336-32] (copy ofNCDEQ Consent

        Order). According to defendants, the NCDEQ Consent Order governs which water replacement or

        filtration option to use at a given residence. [D.E. 361] 1. Moreover, under the NCDEQ Consent

        Order, for certain residences, Chemours has provided "either connections to public water systems

        or whole-house granular-activated carbon ('GAC') filtration systems to remediate drinking water

       . contaminated with hexafluropropylene oxide dimer acid and its ammonium salt (collectively referred




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        to as 'HFPOA-DA' or 'Gen X compounds')." Id. at 2. "Chemours has also installed reverse

        osmosis ('RO') filters on up to three taps at other residences with lower levels of HFPO-DA

        coDtamination or contamination with other per- and poly-fluorinated alkyl substances ('PFAS')."

        Id. According to defendants, "[a]ny order by this [c]ourt to install a particular water filtration system

        at [p]laintiffs' residences would not alleviate Chemours' obligations to potentially install a different

        system at the same residences." Id.; see [D.E. 362] 6--10. In support, defendants cite plaintiffs'

        expert witness Dr. Robert Michaels, whose recommended remedy for water filtration systems

        allegedly conflicts with defendants' obligations under the NCDEQ Consent Order. See [D.E. 362]

        8; [D.E. 398] 1-2. Plaintiffs respond that this court should not stay proceedings in deference to the

        NCDEQ Consent Order and that the NCDEQ Consent Order expressly does not address plaintiffs'

        private-law claims. See [D.E. 380] 1.

               Defendants invoke the ''primary jurisdiction" docµine. See [D.E. 362] 6. The primary

        jurisdiction doctrine allows a court to dismiss without prejudice or stay proceedings where a case

        contains claims properly cognizable in court that "contain some issue within the special competence

        of an adminiirtrative agency."      Reiter v. Cooper, 507 U.S. 258, 268 (1993); see Smith v.

        Clark/Smoot/Russell, 796 F.3d 424,431 (4th Cir. 2015). When applicable, the doctrine permits a

        court to ''tak[e] advantage of agency expertise and refer□ issues of fact not within the conventional

        experience ofjudges or cases which require the exercise of administrative discretion." Smith, 796

        F.3d at 431. The doctrine applies when "federal litigation raises a difficult, technical question that

        falls within the expertise ofa particular agency." Piney Run Pres. Ass'n v. Cnty. Comm'rs ofCarroll

        Cnty., 268 F.3d255, 262n.7 (4th Cir. 2001). Whether to refer a-decision to an.administrative agency

        is discretionary. See, e.g., Envt'l Tech. Council v. Sierra Club, 98 F.3d 774, 789 n.24 (4th Cir.




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         1996); Yadkin Riverketmer, Inc. v. Duke Energy Carolinas, LLC, 141 F. Supp. 3d 428, 449

         (M.D.N.C. 2015).

                The primary jurisdiction doctrine normally involves a litigant asking a court to defer to a

        federal agency. See ill. Bell Tel. Co. v. Glob. NAPs ill., Inc., 551 F.3d 587, 595 (7th Cir. 2008)

        ("Primary jurisdiction usually involves referral to a federal agency, but in a case such as this, in

        which a state commission is exercising in effect delegated federal power, the logic of.the doctrine

        permits a federal court's reference to a state agency."); see also Elam v. Kansas City S. Ry., 635 F.3d

        796, 809 (5th Cir. 2011). Indeed, the cases that defendants cite only apply the doctrine to federal

        agencies. See, e__.g._, Duke Energy Progress, Inc. v. Frontier Commc'ns of the Carolinas, Inc., No.

        S:13-CV-617, 2014 WL 4948112, at *7 (E.D.N.C. Sept. 25, 2014) (unpublished) (applying the

        doctrine to a case involving the Federal Communication Commission's primary jurisdiction

        regarding rental rates for contain pole attachments after a certain date). Moreover, defendants have

        not alleged that NCDEQ is performing a regulatory action that a federal agency or Congress

        delegated to it. Cf. ill. Bell Tel. Co., 551 F .3d at 595. Abstention doctrines, however, are not ''rigid

        pigeonholes" and have overlapping standards and rationales. Martin v. Stew~ 499 F.3d 360, 364

        (4th Cir. 2007) (quotation omitted). Therefore, the court addresses defendants' motion to stay.

               Plaintiffs assert private-law property claims. See Am. Consol. Class Action Compl. Such

        claims fit comfortably within the "conventional experience ofjudges" and are not within NCDEQ' s

        particular expertise. See, e.g.. Cooper, 507 U.S. at 268; Smith, 796 F.3d at 431. Moreover, the

        NCDEQ Consent Order does not give the NCDEQ exclusive adminirnative regulatory power over

        the claims asserted in this case. Indeed, the NCDEQ Consent Order expressly excludes this action

        from its scope. See [D.E. 336-32] ,r 36. The court cannot simply refer this action to the NCDEQ ...

        See AVX Cor,p. v. Corning Inc., No. S:15-CV-543, 2018 WL 1950425, at *5 (E.D.N.C. Apr. 25,

                                                           12

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         2018) (unpublished). Furthermore, defendants have not provided the court with a proposed end date,

         timeline, or other method to determine when the court would lift the proposed stay. As for

         defendants' argument about the potential for conflict between the water filtration replacements

         defendants are performing under the NCDEQ Consent Order and plaintiffs' requested relief,

         defendants' argument about relief is premature. Although defendants note that one of plaintiffs'

         experts argues for a different remedial scheme than that required under the NCDEQ Consent Order,

        this argument does not mean that the ultimate remedy in this case (if any) will conflict with

        defendants' actions under the NCDEQ Consent Order. See [D.E. 398] 1; [D.E. 336-45] 16. After

        all, liability and the proper remedy remain contested in this action. The speculative risk of a

        potential future conflict among potential future remedies does not warrant staying the action. Thus,

        the court denies defendants' motion to stay.

                                                        m.
                Defendants move to exclude the testimony of several expert witnesses. Rule 702 of the

        Federal Rules of Evidence governs the admission of expert testimony. See Fed. R. Evid. 702;

        Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999); Gen. Elec. Co. v. Joiner, 522 U.S. 136,

        142-43 (1997); Daubert v. Merrell Dow Pharm... Inc., 509 U.S. 579, 589--95 (1993); United States

        v. Forreg, 429 F.3d 73, 80--81 (4th Cir. 2005); Silicon Knights. Inc. v. Epic Games, Inc., No.

        5:07-CV-275, 2011 WL 6748518, at *5-6 (E.D.N.C. Dec. 22, 2011) (unpublished). The proponent

        ofthe expert testimony must establish its admissibility by a preponderance ofthe evidence. See Fed.

        R. Evid. 104(a); Daubert, 509U.S. at592n.10; Cooperv. Smith&Nephew, Inc., 259F.3d 194,199

        (4th Cir. 2001); see also Huddleston v. United States, 485 U.S. 681, 687 n.5 (1988) (noting that

        ''preHminary factual findings under Rule 104(a) are subject to the preponderance-of-the-evidence

        standard"); Bourjaily v. United States, 483 U.S. 171, 175 (1987) ("The preponderance standard

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        ensures that before admitting evidence, the court will have found it more likely than not that the

        technical issues and policy concerns addressed by the Federal Rules ofEvidence have been afforded

        due consideration."). A district court has broad discretion in determining the admissibility of

        proposed expert testimony. See United States v. Gastiaburo, 16 F.3d 582,589 (4th Cir. 1994).

               Expert testimony is appropriate when it "will help the trier of fact to understand the evidence

        or to determine a fact in issue." Fed. R. Evid. 702(a). A district court may permit a witness qualified

        by knowledge, skill, experience, training, or education to testify and state an opinion where "([1])

        the testimony is based upon sufficient facts or data, ([2]) the testimony is the product of reliable

        principles and methods; and ([3]) the expert has reliably applied the principles and methods to the

        facts of the case." Fed. R. Evid. 702(b)-{d). Courts have distilled Rule 702's requirements into

        three crucial inquiries: (1) whether the proposed expert witness is qualified; (2) whether the

        proposed testimony is relevant; and (3) whether the proposed testimony is reliable. See Kumho Tire

        Co., 526U.S. at 141; Daub~ 509U.S. at589;Forrefil,429F.3dat80. Thetrialcourtmustperform

        the special gatekeeping obligation concerning these three requirements. See, e_&, Kumho Tire Co.,

        526 U.S. at 147.

               As for qualification, an expert may be qualified based on "knowledge, skill, experience,

        training, or education." Fed. R. Evid. 702. A court assesses qualification in reference to the matter

        to which the witness seeks to testify. See Dau~ 509 U.S. at 591-93; Gladhill v. Gen. Motors

        Cor_p., 743 F.2d 1049, 1052(4thCir.1984). Thewitnessneednotbethemostwell-knownorwell-

        qualified witness. See Gladhill, 743 F. 2d at 1052. Nonetheless, a witness does not become an

        expert simply by claiming to be an expert or because some other court permitted the witness to

        testify as an expert. See Thomas J. Kline, Inc. v. Lorillard, Inc., 878 F.2d 791, 79~800 (4th Cir.

        1989) (holding that a witness with an M.B.A. was not qualified to provide expert opinion testimony

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        on complex economic antitrust matters about which the witness was not qualified by training,

        experience, or education); see also United States v. Bah~ 223 F.3d 797, 809-10 (8th Cir. 2000)

        (holding that a witness who held himself out to be an expert on voice spectrography lacked the

        required training, experience, or education). Moreover, expertise in one topic does not qualify a

        witness to testify about another topic. See Sardis v. Overhead Door Cor_p., 10 F.4th 268, 288-90,

        295 (4th Cir. 2021) (excluding testimony about an industry standard not sufficiently related to the

        product at issue and excluding testimony that contradicts standards imposed by governing law);

        Zellers v. NexTech Ne., LLC, 533 F. App~x 192, 197 (4th Cir. 2013) (per curiam) (unpublished)

        (affirming exclusion of a neurologist's testimony about the toxicity of certain chemicals used for

        refrigeration because the neurologist had no training in toxicol<?gy); Cooper, 259 F.3d at 200

        (excluding testimony·of a medical ·doctor who based an opinion on a medical device. without

        conducting tests or studying the medical device); Ancho v. Pentek Cor_p., 157 F. 3d. 512, 519 (7th

        Cir. 1998) (excluding testimony when the expert failed to visit the site of the accident or otherwise

        familiarize himself with the specific details of the accident at issue).

               To be relevant, the proposed expert testimony must be helpful to the trier of fact concerning

        a claim or defense at issue in the case. See Daub~ 509 U.S. at 591-92; United States v. Lespier,

        725 F.3d 437,449 (4th Cir. 2013); Kopfv. Skyrm, 993 F.2d 374,377 (4th Cir. 1993); Persingerv.

        Norfolk& W. Ry., 920 F.2d 1185, 1188 (4th Cir. 1990); Scottv. Sears, Roebuck& Co., 789 F.2d

        1052, 1055 (4th Cir. 1986). To be helpful, the proposed expert testimony must fit the facts of the

        case. "Fit is not always obvious, and scientific validity for one purpose is not necessarily scientific

        validity for other, unrelated purposes." Daub~ 509 U.S. at 591 (quotation omitted). To be helpful

        to the trier of fact, the proposed expert testimony must be outside the common knowledge or

        function of the fact finder. See, ~, Lespier, 725 F.3d at 449 (affirming exclusion of expert

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         testimony on how sleep deprivation affects the reliability of an eye witness to a crime); Persinger,

         920 F.2d at 1188 (affirming exclusion of expert testimony about the amount of weight that an
   -,.
         individual could safely lift based on an easily-applied industry formula); Gladhill, 743 F. 2d at 1052

         (affirming decision that a police officer who had investigated 600 car accidents and arrived at the

         car accident scene immediately after the car accident was qualified to give an opinion as to the cause

         ofthe car accident based on his review ofthe car accident scene); see also United States v. Hill, 749

         F. 3d 1250, 1260 (10th Cir. 2014) (reversible error to allow an expert witness to testify about

         whether another witness was being credible; "credibility [i]s for determination by the jury," and "an

         expert may not go so far as to usurp the exclusive function of the jury to weigh the evidence and

         determine credibility" (quotation and alteration omitted)); Niinley v. City ofNew York, 414 F. 3d

         381, 398 (2d Cir. 2005) (same).

                "[T]he test ofreliability is flexible and the law grants a district court ... broad latitude when

         it decides" reliability. United States v. Wilso!!, 484 F.3d 267, 274 (4th Cir. 2007) (quotation

         omitted); see Kumho Tire Co., 526 U.S. at 141-42; Belville v. Ford Motor Co., 919 F.3d 224,233

         (4th Cir. 2019) (rejecting argument that a district court always must consider potential rate of error

         or other specific factors when weighing expert reliability). There is not a fit when a large analytical

         gap exists between the facts and the opinion. See Joiner, 522 U.S. at 146-47 (affirming excluding

         testimony where the expert's opinion was based upon irrelevant testing on animals unrelated to the

         case at issue); In re Lipitor (Atorvastatin Calcium) Mktg., Sales Pracs. & Prods. Liab. Litig.. 892

         F.3d 624, 634-35 (4th Cir. 2018) (affirming excluding testimony when the expert's testing

         contradicted his opinion); Nease v. Ford Motor Co., 848 F. 3d 219, 232-33 (4th Cir. 2017)

         (affirming excluding testimony when expert on vehicle safety failed to test his own hypothesis);

         Cooper, 259 F. 3d at 200-01 (affirming excluding testimony on what caused a medical injury when

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        the expert's testing did not provide evidence of causation). The Federal Rules of Evidence do not

        require "a district court to admit opinion evidence that is connected to existing data only by the ipse

        dixit of the expert." Joiner, 522 U.S. at 146;· see Small v. WellDyne. Inc., 927 F.3d 169, 177 (4th

        Cir.2019) ("Without testing, supporting literature in the pertinent field, peer reviewed publications[,]

        or some basis to assess the level of reliability, expert opinion testimony can easily, but improperly,

        devolve into nothing more than proclaiming an opinion is true 'because I say so."').

               In determining ''whether proffered testimony is sufficiently reliable, the court has broad

        latitude to consider whatever factors bearing on validity that the court finds to be useful; the

        particular factors will depend upon the unique circumstances of the expert testimony involved."

        Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th Cir. 1999). Factors that may bear on the

        reliability of the expert's testimony include (1) whether a theory or technique can be (and has been)

        tested, (2) whether the theory or technique has been subjected to peer review and publication, (3)
                                                     I




        whether a technique has a high known or potential rate of error and whether there are standards

        controlling its application, and (4) whether the theory or technique enjoys general acceptance within

        the relevant community. See Kumho Tire Co., 526 U.S. at 149-50; Daubm, 509 U.S. at 593-94;

        In re Lipitor, 892 F. 3d at 644 (holding that a medical doctor testifying that Lipitor caused certain

        diseases was excludable for not factoring in other risk factors, such as age, body mass index, and

        family history); Sardis, 10 F .4th at 288-90 (holding testimony about product safety unreliable when

        expert did not test the product); McKiver v. Mw:phy-Brown, LLC, 980 F .3d 937, 960 (4th Cir. 2020)

        (holding that a witness's method for analyzing the origin of swine fecal material was widely used

        and applied reliably enough to be admitted despite not being subject to peer review); Baxter v.

        Comm'r of Internal Revenue Serv., 910 F.3d 150, 157-58 (4th Cir. 2018) (holding that mere

        disagreement with an expert's otherwise reliable methodology is not grounds for exclusion); United

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         States v. Crisp. 324 F.3d 261, 265--66 (4th Cir. 2003) (holding that expert fingerprint analysis was

        admissible despite defendant's objections to its general scientific accuracy). "Result-driven analysis,

        or cherry-picking, undermines principles ofthe scientific method and is a quintessential example of

        applying methodologies (valid or otherwise) in an unreliable fashion." In re i..ipitor, 892 F .3d at 634;

        see EEOC v. Freem~ 778 F.3d 463, 468--69 (4th Cir. 2015) (Agee, J., concurring) (collecting

        cases).

                  "It is. well recognized that epidemiology usually provides the best evidence of general

        causation in toxic tort actions." Rhyne v. U.S. Steel Corp., 474 F. Supp. 3d 733, 743 (W.D.N.C.

        2020); Norris v. Baxter Healthcare Corp., 397 F.3d 878, 882 (10th Cir. 2005); Rider v. Sandoz

        Phann. Corp., 295 F.3d 1194, 1198 (11th Cir. 2002); In re Lipitor (Atorvastatin Calcium) Mktg.,

        Sales Pracs. & Prods. Liab. Litig., 174 F. Supp. 3d 911, 914 (D.S.C. 2016). In toxic tort cases,

        causation generally will depend on a qualified expert witness establishing both "general causation

        and.specific causation." Rhyne, 474 F. Supp. 3d at 743. "[I]n order to carry the burden of proving

        a plaintiff's injury was caused by exposure to a specified substance, the plaintiff must demonstrate

        the levels of exposure that are hazardous to human beings generally as well as the plaintiff's actual

        level of exposure." Id. (quotation omitted); see Westbeny. 178 F.3d at 263.

                  When experts testify concerning toxicity, "an expert witness will not necessarily need to

        define the precise lower bound of exposure risk" in order for the testimony to be reliable. In re

        Lipitor, 892 F .3d at 640. "The appropriate level of analysis will depend on the circumstances of the

        case and the capacity of current scientific methods." Id.; see Westberry, 178 F.3d at 263--65

        (admitting testimony about the dangers of"substantial exposure" to toxic materials without requiring

        the expert to identify the specific quantities at which a material becomes toxic); Benedi v. McNeil-

        P .P.C., Inc., 66 F.3d 1378, 1383-85 (4th Cir.1995) (holding that testimony by treating physician

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        concerning cause of plaintiff's liver failure-acetaminophen combined with alcohol-was

        admissible despite the lack of epidemiological data). In order to opine on causation of injury,

        however, an expert generally must identify ''the levels of exposure that are hazardous to human

        beings generally as well as the plaintiff's actual level of exposure." Westbeny. 178 F.3d at 263

        (quotation omitted); see McGill v. BP Ex;pl. & Prod., Inc., 830 F. App'x 430, 433 (5th Cir. 2020)

        (per curiam) (unpublished) (upholding the exclusion of an expert's opinion that was ''not based on

        sufficient facts" and relied on studies that failed to ''provide conclusive findings on what exposure

        level of Corexit is hazardous to humans"); McClain v. Metabolife Intern., Inc., 401 F.3d 1233,

        1241-42 (11th Cir. 2005) (noting that an expert who could not provide an opinion on ''the dose or

        level of exposure at which [the chemical] causes harm" did "not follow the basic methodology that

        scientists use to determine causation-the dose-response relationship"); Zellers, 533 F. App'x at 198

        (affirming exclusion of a doctor who opined that a toxic substance caused a plaintiff's injury despite

        not knowing the "intensity and duration" ofplaintiff's exposure); Zellars v. NexTech Ne., LLC, 895

        F. Supp. 2d 734, 739-751 (E.D. Va. 2012)(excludingtestimonyofcausationexpertwhoseopinions

        were not reliable and, on some points, not relevant to the issue of causation), afI' d, 533 F. App'x 192

        (2013) (per curiam) (unpublished). When there are multiple avenues of potential causation, an

        expert must account for alternative causes. See Bryte ex rel. Bryte v. Am. Household, Inc., 429 F .3d

        469, 477 (4th Cir. 2005) (affirming exclusion of testimony about probable sources of a fire where

        the expert failed to consider alternative sources); Pipitone v. Biomatrix, Inc., 288 F .3d 239, 245 (5th

        Cir. 2002) (same).

               In Zellars, the court evaluated four experts witnesses who sought to testify about plaintiffs'

        exposure to allegedly toxic refrigerants. Zellars, 895 F. Supp. 2d at 739-751. The first expert, a

        medical doctor (Dr. Gallagher) who treated a plaintiff's underlying conditions, was not qualified to

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        opine whether the refrigerant caused plaintiff's injury. Id. at 743. In excluding the testimony, the

        court noted that:

               The·scope of Dr. Gallagher's expertise does not encompass. toxicology, chemical
               exposure, or, specifically, exposure to refrigerants. Her background includes training
               in emergency room medicine in medical school and during her residency, which •
               included some training in diagnosing and training toxic exposures and drug overdoses.
               However, Dr. Gallagher is not a toxicologist and has had no training in methodologies
               used for diagnosing refrigerant toxicity.

        Id. (citation omitted). Even if Dr. Gallagher had toxicology training, the court also found that Dr.

        Gallagher "had no access to information about the air concentration of refrigerant gas to which

        [plaintiff] was exposed." Id. at 745. Thus, the court rejected Dr. Gallagher's testimony based on

        lack of expertise and for being unreliable. Likewise, the court rejected the differential diagnosis

        testimony ofDr. Sharma because he "did not adequately investigate or consider [plaintiff's] medical

        history or environmental factors other than the refrigerant leak" and failed to ''isolate exposure to

        refrigerant gas as the most probable cause of [plaintiff's] condition." Id. at 747-48.

               The Zellars court also rejected the expert testimony of plaintiff's toxicology experts. The

        court found that these experts' "opinion on specific causation is not based on sufficient scientific

        knowledge about the toxicity of R-404A or sufficient facts about [plaintiff's] exposure to the

        chemical." Id. at 749. The court also found the opinions to be unreliable because the toxicology

        experts "did not know what dose ofR-404A would be required to cause [plaintiff's] alleged health

        effects." Id. Furthermore, the court found the toxicologists' testimony unreliable given that they

        "cannot testify within a reasonable degree of scientific certainty what the mjnjmum level of

        [plaintiff's] exposure would need to be in order to cause her physical condition.... Without reliable

        scientific knowledge of what level of exposure to R-404A is needed to produce the medical




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        condition ... [the toxicologists] can only speculate whether the level of [plaintiff's] exposure was

        high enough to cause her condition." Id. at 750.

               Courts routinely analyze the admissibility of expert testimony at the class certification stage.

        See, e.g., Prantil v. Arkema Inc., 986 F.3d 570, 576 (5th Cir. 2021); Williams v. Ests. LLC, No.

        1:19-CV-1076, 2021 WL 1581239, at *5 n.3 (M.D.N.C. Apr. 22, 202l){unpublished). In doing so,

        the court focuses on the ''reliability of the expert testimony in light of the criteria for class

        certification and the current state ofthe evidence." In re Zurn Pex Plumbing Prods. Liab. Litig., 644

        F.3d 604, 614 (8th Cir. 2011).

                                                         A.
               Defendants seek to exclude the testimony of David L. Sunding, Ph.D. on four grounds: (1)

        Sunding's model includes "stigma" damages not recoverable under North Carolina law; (2)

        Sunding's averages do not "fit" the recovery that plaintiffs request; (3) Sunding is not qualified to

        give the opinions at issue in his reports; and (4) Sunding's model is unreliable. See [D.E. 349] 1-2.

        As for "stigma" damages, defendants argue that stigma damages are unavailable under North

        Carolina law for temporary or abatable nuisance claims. See, e.g., BSK Enters. v. Beroth Oil Co.,

        246 N.C. App. 1, 23, 783 S.E.2d 236, 251 (2016). Defendants assert that one of the primary

        estimates Sunding used to calculate his average damages is the "stigma" arising from uncertainty

        regarding PFAS contamination on the property. See [D.E. 349] 6; [D.E. 336-29] ff 48, 52.

        Plaintiffs respond that Sunding bases his model on real-world price factors and not the "stigma"

        damages at issue in BSK Enterprises. See [D.E. 383] 13.

               Under North Carolina law, stigma damages can be "one ofthe factors which may be utilized

        in determining market price" in cases of''permanent nuisance which involves a diminution ofvalue,

        regardless of the outcome of remediation." Rudd v. Electrolux Corp., 982 F. Supp. 355, 372

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         (M.D.N.C.1997); seeAru,ealofCamelCityLaundryCo., 123 N.C. App. 210,217,472 S.E. 2d402,

        406---07 (1996). Defendants appear to believe that plaintiffs have foreclosed the possibility offinding

        permanent nuisance because their primary damages model ''presumes temporary or abatable

        conditions, not permanent ones." [D:E. 394] 5. Defendants, however, fail to cite language in the

        amended complaint, Sunding's report, or evidence limiting plaintiffs' theory only to temporary

        nuisance. So long as plaintiffs can still pursue permanent nuisance claims (and they can), Sunding's

        inclusion of stigma damages does not contradict North Carolina law. See, e.g., Rudd, 982 F. Supp.

        at 372.

                  As for defendants' ''fit" argument, plaintiffs argue that Sunding's model provides more

        individualized estimates and that his model provides a class-wide "cross-check" on the

        reasonableness of plaintiffs' repair or replace remedy. [D.E. 383] 16, 22. Ultimately, whether

        Sunding's method of averaging diminution of property damages for PFAS exposure provides

        adequate evidence to justify a damages award or common proof for the class are questions more

        suited for plaintiffs' motion to certify.

                  As for certification, defendants cite numerous cases for the proposition that Sunding' s report

        cannot by itself satisfy certification under Rule 23. See [D.E. 349] 9-13. True enough. Defendants'

        argumen~ about "fit" in this case, however, ultimately concern the weight of Sunding's report, not

        whether to exclude it. See, e.g., Syn,genta Crop Prot, LLC v. Willowood Azo:,orstrobin, LLC, 267

        F. Supp. 3d 649, 658 (M.D.N.C. 2017). The court addresses these concerns regarding Sunding's

        report in Part N.A.3.vi of this order.

                  As for Sunding' s qualifications, Sunding is an "environmental economist" and has

        experience assessing chemical contamination and therefore, is qualified to opine on how PFAS

        affects property values. See [D.E. 383] 26. Sunding is a professor in the Department ofAgriculture

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         and Resource Economics and the University of California, Berkeley. He has published extensively

         and has experience involving the economics ofenvironmental contmnjnation. See id.; [D.E. 336-29]

        ff 1-5.    Sunding's extensive experience studying the economic impact of environmental

        contmnjnation qualifies Sunding to opine on the matters discussed in his report. Moreover, the court

        rejects defendants' argument that Sunding's opinions require expertise on the valuation ofreal estate.

        See [D.E. 349] 17.

                As for defendants' arguments about Sunding's model, defendants argue that because

        Sunding's pooled results are not statistically significant at p = 0.05 the court should exclude

        Sunding's model.     See [D.E. 349] 21. Plaintiffs respond that Sunding's model is only not

        statistically significant at p = 0.05 when Sunding made adjustments to respond to defendants' expert

        witness. See [D.E. 383] 24; [D.E. 343-51].

                Defendants' argument concerning Sunding's model takes Sunding's results out of context.

        Sunding's initial report, not factoring in defendants' changes, produced statistically significant

        results when pooled. See [D.E. 336-29] 34. The statistically insignificant results arose in rebuttal.

        Specifically, in Sunding' s rebuttal, Sunding adopted the assumptions ofdefendants' expert, Jennifer

        Pitt, and ran his model again to opine that, even under conditions most favorable to defendants,

        PFAS contamjnation has a strong negative correlation to property values. See [D.E. 343-51 ]. This

        robustness check of Sunding's model serves to make his :findings more reliable, not less. The court

        denies defendants' motion to exclude Sunding's testimony.

                                                         B.
               Defendants move to exclude a portion ofthe testimony ofDavidL. Duncklee, P .G. See [D.E.

        354-55]. Specifically, defendants attack Duncklee' s opinion that PFAS will continue to contamjnate

        the Cape Fear River "for several decades to come" and challenge his methodology in forming this

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        opinion. See id. at 1. In support, defendants argue that Duncklee ignores defendants' ongoing

        remedial efforts and the steps that the Cape Fear Public Utility Authority has taken to upgrade the

        water filtration systems. See id. at 2-5. Plaintiffs respond that defendants improperly focus on a

        single, narrow opinion of Duncklee and argue that Duncklee accounted for defendants' remedial

        efforts and the actions of Cape Fear Public Utility Authority in forming his opinion. See [D.E. 377]

        5--6.

                The parties fail to explain why Duncklee's challenged opinion about PFAS co11tamjnating

        the Cape Fear River "for several decades to come" is relevant to class certification. Plaintiffs are not

        seeking to certify a class of future property owners who will be damaged by PFAS co11tamjnation

        in the Cape Fear River. Instead, plaintiffs seek replacement or remediation for property owners

        whose water systems have been co11tamjnated. See [D.E. 334-1] 23-24. Duncklee's opinion that

        PFAS will continue to contamjnate the Cape Fear River for several decades to come does not affect

        the court's evaluation ofplaintiffs' motion for class certification. See Daub~ 509 U.S. at 591-92;

        Lespier, 725 F.3d at 449; Kopf. 993 F.2d at 377; Persinger, 920 F.2d at 1188; Scott, 789 F.2d at

        1055. Thus, for purposes of class certification, the court grants defendants' motion to exclude

        Duncklee's testimony that PFAS will continue to contamjnate the Cape Fear River "for several

        decades to come."

                                                          C.
                Defendants move to exclude the testimony of R. Bruce Gamble for three reasons: (1)

        Gamble's opinions are not useful to the trier of fact because they are the product of simple

        arithmetic; (2) Gamble based his work on a class different from those proposed by plaintiffs; and

        (3) Gamble's methodology·is speculative and unreliable. See [D.E. 358] 1.

                As for defendants' simple arithmetic argument, Gamble's model does employ simple

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        arithmetic. Gamble first quantified members ofthe class "impacted by ongoing contaminated water''

        by contacting multiple water authorities and obtaining the number ofactive residential metered water

        connection accounts. [D.E. 336-28] 11. Gamble multiplied this data with costs of remediation

        methods (e.g., replacing water filters, replacing water heaters, and providing bottled water) to

        produce estimated total costs of remediation for the customers included in Gamble's model. See id.

        at 14--17. Notably, how Gamble knew what factors to plug into his equation, what assumptions to

        make in his model, and how to convert public utility data into a measure of p~tential damages

        required Gamble's expert analysis. For example, Gamble had to make informed judgments about

        ''which metered connections to include and what inputs to include" when crafting his model. See

        [D.E. 378] 12. Gamble also used his experience to make informed assumptions about, for example,

        the amount ofR/O units each residence would require. See [D.E. 336-28] 14. Moreover, even if

        Gamble used "information that would be available to anyone," a lay witness would not be able to

        synthesize such publicly available information into a coherent estimate, let alone credibly explain

        how the lay witness came to such conclusions. See [D.E. 358] 5.

               In opposition, defendants cite Capps v. Newmark Southern Region, LLC, No. 5: l 8-CV-133,

        2020 WL 2615753, at *5 (E.D.N.C. May 22, 2020) (unpublished), for the proposition that "simple

        arithmetic does not depend on specialized knowledge." True enough. Unlike Gamble, however, the

        expert in Capps did not use his expertise to craft a formula, but instead used assumptions of fact that

        did ''not involve any calculation or application of specialized knowledge." Id.

               Next, defendants argue that Gamble's opinion is unreliable because Gamble's proposed

        class differs from plaintiffs' proposed classes. See [D.E. 358] 5. In support, defendants note that

        Gamble excludes from his proposed class groundwater sources and properties in Bladen County and

        Cumberland County. See id.; [D.E. 342-10] 12 (discussing that Gamble limited the scope of his

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        analysis to public water utility sources); [D.E. 336-28] ,r 27 n.4.

              • This lack of perfect overlap does not justify excluding Gamble's testimony at this stage.

        Gamble's report explains that he did not include groundwater sources and properties in Bladen .

        County and Cumberland County because the water was "either sourced upstream ofthe Fayetteville

        Works facility or from another source that was not directly or indirectly drawn from Cape Fear River

        surface water." [D.E. 336-28] ,r 27 n. 4. Gamble's concession does not make his model or method

        unreliable, but provides grounds for defendants to challenge the reach of Gamble's model on cross

        examination. See, e.g., First Data Merch. Servs. Cor;p. v. SecurityMetrics, Inc., No. RDB-12-2568,

        2014 WL 6871581, at •11 (D. Md. Dec. 3, 2014) (unpublished) (noting that potential issues of

        "double counting" can be resolved during cross examination and through rebuttal witnesses).

        Gamble can reliably apply his methods to the rest of plaintiffs' proposed class.

               Defendants also argue that Gamble failed to create a reliable method ofmeasuring class-wide

        damages but simply calculated "a mass estimated hypothetical class-damages total with no actual

        relation to the true injuries or damages of any individuals." [D.E. 395] 3. To the extent defendants

        believe that Gamble's damages calculations do not consider sufficient individual factors, these

        arguments go to the weight of Gamble's testimony.

               Next, defendants argue that Gamble relies solely on the opinions ofother experts. See [D.E.

        358] 6--10. In support, defendants cite Funderburk v. South Carolina Electric & Gas Co., 395 F.

        Supp., 3d 695, 717-20 (D.S.C. 2019), for the proposition that expert opinions formed upon

        ''unblinking reliance" on other expert opinions are inadmissible. See [D.E. 358] 10. In Funderburk,

        the court excluded the testimony of a proposed expert witness who solely relied upon a "blanket

        statement" from a non-peer reviewed article that the witness simply quoted verbatim. Funderburk,

        395 F. Supp. 3d at 71~20.

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                In Funderbmk, the court acknowledged that an expert may ''rely upon the opinions and

        findings of other experts" to reach an expert opinion, but only if"experts in their respective field

        would reasonably rely on the other expert's opinions and findings." Id. at 717 (quotation omitted);

        see Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 789 (7th Cir. 2017); Tamraz v. Lincoln

        Blee. Co., 620 F.3d 66S, 67S (6th Cir. 2010); In re Wright Med. Tech. Inc., Conserve Hip Implant

        Prods. Liab. Litig., 127 F. Supp. 3d 1306, 1320 (N.D. Ga. 201S). Gamble is an expert in real estate

        and finance, and he has extensive experience analyzing large interconnected networks of properties,

        their respective value, and other related market characteristics. See [D.E. 336-28] 19-23. Gamble

        is not an expert on engineering or co11tamination. Thus, Gamble properly relied on the opinions of

        several experts to establish a ''recommended remediation protocol," which he then applied to his

        model to estimate total replacement costs. [D.E. 336-28] ,r 37. Gamble did not simply parrot other

        experts in his conclusions. Instead, Gamble properly drew from multiple reports and somces after

        evaluating their utility and applied his expertise. See id. at ,r 38.

               Next, defendants challenge several assumptions Gamble included in his model. See [D.E.

        3S8] 6--9. Plaintiffs respond that such arguments go to the weight of Gamble's testimony. See [D.E.

        378] 16--17.

               The assumptions Gamble made in creating his model are not "systemic and fatal." [D.E.

        39S] 7. For example, defendants criticize Gamble for not factoring in tidal influence, timing issues,

        and the differences between the number of bedrooms and sinks. See [D.E. 358] 6--8. The

        assumptions defendants cite.concern the level of potential PFAS contamination and the need for

        certain remedial measmes (such as, whether houses by the coast could have less costly RIO repair

        due to ''water softeners"). Id. at 8. However, "admissibility under Daubert (for class-certification

        purposes) depends on an expert's reliable estimation of injury, rather than an accmate calculation

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        of damages." Mr. Dee's Inc. v. lnmar, Inc.,No.1:19CV141, 2021 WL4224720, at *21 (M.D.N.C.

        Sept. 16, 2021) (unpublished) (emphasis removed). Challenges to plaintiffs' theory of necessary

        remedial action do not make Gamble's underlying methodology unreliable or excludable at this stage

        of the case.

                Defendants also argue that Gamble's methodology is unreliable because it has not been

        subject to academic peer review. See [D.E. 358] 10. It is unclear, however, that Gamble's analysis

        would ever be the subject of academic peer review. Gamble has experience creating reports for

        corporations investing in real estate, not writing academic articles. See [D.E. 336-28] 19-23. When

        an expert's methodology is "not of the type that ordinarily would be subject to peer review," lack

        of peer review does not render an expert's opinion unreliable. Robinson v. Nationstar Mortg. LLC,

        No. CVTDC-14-3667,2019WL4261696, at *14(0. Md. Sept. 9,2019)(unpublished); see Kumho

        Tire Co., 526U.S. at 149-52; UnitedStatesv. Carlso:Q, 810F.3d544, 553 (8th Cir. 2016). The court

        denies defendants' motion to exclude Gamble's testimony for purposes of class certification.

                                                        D.
               Defendants seek to exclude the testimony of Jamie C. DeWitt, Ph.D. [D.E. 381-4] and

        Richard L. DeGrandchamp, Ph.D. [D.E. 381-5] that there is no safe level of PFAS exposme in

        drinking water for human beings and that PFAS is toxic (i.e., poisonous) to human beings. See [D.E.

        353] 1-15; cf. [D.E. 381-4] 77 (DeWitt opines ''that the weight of scientific evidence suggests that

        PFAS are toxic to human health and there is no amount of exposme to PFAS in drinking water that

        is protective of human health for class members"); [D.E. 381-5] 16 (DeGrandchamp opines that

        ''there is no known safe level ofPFAS for Class Members' drinking water simply because there have

        been no toxicity studies performed on these, save GenX''); see also id. at 18-19, 40. In support,

        defendants argue that (1) the opinions are derived from insufficient evidence and unreliable

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        methodology, and (2) the opinions are not helpful to resolve plaintiffs' motion for class certification.

        See [D.E. 353] 1-15.

                Plaintiffs assert claims under North Carolina law for negligence, nuisance, and trespass. See

        Am. Consol. Class Action Comp!. Plaintiffs need not establish that there is no safe level of PFAS

        exposure in drinking water for human beings in order to prove these three claims. Likewise,

        plaintiffs need not establish that PFAS is toxic (i.e., poisonous) to human beings in order to prove

        these three claims. In order to state a claim for negligence under North Carolina law, a plaintiffmust

        prove that "(1) defendant[s] failed to exercise due care in the performance of some legal duty owed

        to plaintiflis] under the circumstances; and (2) the negligent breach of such duty was the proximate

        cause of the injury." Whisnant v. Carolina Farm Credit 204 N.C. App. 84, 93-94, 693 S.E.2d 149,

        156 (2010); see [D.E. 109] 11-12 (collecting cases). Because plaintiffs are not alleging personal

        injury in this claim, plaintiffs need not establish that there is no safe level of PFAS exposure in

        drinking water for human beings or establish that PFAS is toxic (i.e., poisonous) to human beings

        in order to prove their negligence claim. Similarly, to prevail on their private nuisance claim,

        plaintiffs need not establish that there is no safe level ofPFAS exposure in drinking water for human

        beings or establish that PFAS is toxic to human beings. Rather, plaintiffs must prove a substantial

        and unreasonable interference with the use and enjoyment oftheir property. See Kent v. Humphries,

        303 N.C. 675,677,281 S.E.2d 43, 45 (1981); [D.E. 109] 16. As for trespass, plaintiffs need not

        establish that there is no safe level ofPFAS exposure in drinking water for human beings or establish

        that PFAS is toxic to human beings. Rather, to prevail on the trespass claim, plaintiffs must prove

        "(1) possession of the property by the plaintiff at the time of the alleged trespass; (2) unauthorized

        entry by the defendant; and, (3) damage to the plaintiff as a result." House v. Fed. Home Loan

        Mortg. Cor,p., 261 F. Supp. 3d 623, 635 (E.D.N.C. 2016), aff'd, 699 F. App'x 259 (4th Cir. 2017)

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        (per curiam.) (unpublished); see Spirmc: Sarco, Inc. v. SSI Eng'g, Inc., 122 F: Supp. 3d 408, 432-33

        (E.D.N.C. 201S); Matthews v. Forrest, 23S N.C. 281, 283, 69 S.E.2d S53, SSS (19S2). Whether

        there is no safe level ofPFAS exposure in drinking water for human beings or whether PFAS is toxic

        to human beings is irrelevant to class certification on these three claims. See Daub~ S09 U.S. at

        S91-92; Lespier, 72S F.3d at 449; Kopf, 993 F.2d at 377; Persinger, 920 F.2d at 1188; Scott, 789

        F.2d at 105S. Therefore, for purposes of class certification, the court declines to consider DeWitt's

        and DeGrandchamp's opinions.

               In declining to consider these opinions for purposes of class certification, the court notes the

        parties' extreme positions. DeWitt and OeGrandchamp offer the unsupported opinion that there is

        no safe level of PFAS exposure in drinking water for human beings. See [D.E. 381-4] 77 (DeWitt);

        [D.E. 381-S] 16 (DeGrandchamp); cf. Yates v. Ford Motor Co., 113 F. Supp. 3d 841, 846 (E.D.N.C.

        201S) (collecting cases rejecting the "each and every exposure" theory in asbestos litigation).

        Defendants initially respond appropriately that risks to humans from PFAS exposure in drinking

        water for human beings vary depending on the "amount and type of the PFAS." [D.E. 397] 7.

        Defendants, however, then take the extreme position that no evidence suggests that PFAS exposure

        in drinking water for human beings is "injurious to human health." Id.

               Having reviewed the record, the court is satisfied that whether PFAS exposure in drinking

        water for human beings is unsafe (i.e., dangerous) or toxic (i.e., poisonous) is more nuanced than the

        parties suggest. After all, drinking too much water that contains no PFAS can be unsafe, toxic, or

        fatal depending how quickly the person drinks the water, how much water the person drinks, and

        how often the person·drinks the water. For now, the court is satisfied sufficient evidence in the

        record exists to find that some measurable level of PFAS exposure in drinking water for human

        beings is unsafe (i.e., dangerous) and some higher level of PFAS exposure in drinking water for

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        human beings is toxic (i.e., poisonous). In order to address class certification, however, the court

        need not draw those lines.

                                                         E.
                Defendants move to exclude the testimony of Kimberly A. Gray, Ph.D. and Roger W.

        Griffith, P .E. and argue their opinions ccmstitute improper speculation. See [D.E. 360] 2. As for

        Gray, defendants deny that tap water or water pipes in residences contain any bacteria and that Gray

        would need to see microbial studies in order to express this opinion. See [D.E. 360] 5. Defendants'

        insistence that bacteria or other microbes do not exist in common tap water or water pipes in

        residences is silly. One need not be a biologist to know that common tap water and water pipes in

        residences contain bacteria and other microbes. Gray's assumption that bacteria and other microbes

        are in tap water and water pipes in residences does not render her opinions unreliable. Moreover,

        Gray does not opine that certain strains of bacteria cause the development ofbiofilm, but simply that

        any combination of common bacteria and dead cells form biofilm over time. See [D.E. 336-26] 13.

        Furthermore, Gray's report explains why she did not need to conduct a microbial study in order to

        form these opinions. See id. at 13-15.

                Next, defendants argue that Gray had no reason to believe that the pipes of putative class

        members would have calcium carbonate, a chemical necessary to form PFAS-absorbing "scale."

        ~.E. 360] 6. Gray, however, analyzed sludge found in water heaters, and she found "scale" while

        analyzing the sludge. See [D.E. 336-26] 14-15; [D.E. 360-1] 12-14. If Gray foun~ scale while

        analyzing the sludge, and if calcium carbonate is necessary to form scale, then it logically follows

        that calcium carbonate was present in the water heaters from which Gray found the scale. Both

        Gray's analysis and her discussion of the relevant literature demonstrate that her methods were

        reliable.

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                Next, defendants cite alleged inconsistencies between Gray's testimony and the opinion of

        another ofplaintiff's experts, Brien N. Gidlow, P.E. ("Gidlow"). See [D.E. 360] 6. Gidlow is a civil

        engineer, and he opined that he never found PFAS retention in residential pipes. See [D.E. 336-22]

        4; [D.E. 343-34] 3-4. To the extent Gray reached an opinion different than Gidlow's opinion,

        defendants may raise such alleged inconsistencies on cross examination.              The court denies

        defendants' motion to exclude Gray's testimony at this stage of the case.

                As for Griffith, defendants argue that Griffith never ''tested a single water heater in order to

        ascertain the level, if any, of sediment present in that water heater, or its percentage, if any, of

        PFAS." [D.E. 360] 8. Plaintiffs respond that Griffith's report tested sludge in water heaters and that

        defendants are factually incorrect [D.E. 384] 17-20. In reply, defendants contend that the "sludge"

        •Griffith measured was a liquid and not a solid that supposedly adhered to the internal surface of

        water heaters. See [D.E. 391] 4.

               Griffith explains:

               The terms sediment and scale are often used interchangeably. The consistency ofthe
               sediment varies depending on the degree of water hardness and type of debris
               present When the sediment or scale has the consistency of a thick of viscous liquid,
               it is often referred to as sludge. Sediment can also have a hard, concrete-like
               consistency.

        [D.E. 336-27] ,r 38. Given that "any contamination that remains in the sediment can be reintroduced

        into the water stream," Griffith measured the sediment present in sludge to opine about the potential

        of hardened sediment to release PFAS contamfoants into the water systems. Id. at ,r 47. Griffith's

        analysis is not improper speculation. Instead, it constitutes Griffith's method of demonstrating how

        contaminants deposited in the hardened sediment layer can contaminate water flowing out of hot

        water heaters.




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                Next, defendants argue that Griffith's opinion that no method can completely remove

        sediment from residential water heaters is based on flawed scientific methodology. See [D.E. 360]

        10. Griffith's opinion, however, that no decontamination protocols would completely remove

        potentially contaminated sediment from water heaters is permissible given his experience, training,

        and explanation.     See [D.E. 336-27] , 54.         Although defendants may introduce evidence

        demonstrating that flushing can adequately decoDtaminate water heaters, Griffith's opinions are not

        overly speculative. The court denies defendants' motion to exclude Griffith's testimony at this stage

        of the case.

                                                           IV.

                Plaintiffs move for class certification. See [D.E. 334]. A class action is "an exception to the

        usual rule that litigation is conducted by and on behalf of the individual named parties only."

        Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (quotation omitted). Rule 23 "does not set forth

        a mere pleading standard." Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). A party

        seeking class certification must establish by apreponderance ofthe evidence that the action complies

        with.Rule 23. See Behrend, 569U.S. at33; Brown v. Nucor Corp., 785 F.3d 895, 931-32 (4th.Cir.

        2015) (Agee, J., dissenting) (collecting cases).

               Federal Rule of Civil Procedure 23(a) provides that a plaintiff may bring a class action as a

        representative party if:

               (1) the class is so numerous thatjoinder of all members is impracticable;
               (2) there are questions of law or fact common to the class;
               (3) the claims or defenses of the representative parties are typical of the claims or
               defenses of the class; and
               (4) the representative parties will fairly and adequately protect the interests of the
               class.

        Fed. R. Civ. P. 23(a).     These basic prerequisites are commonly referred to as numerosity,


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        commonality, typicality, and adequacy. To bring a class action, the proposed class representative

        must satisfy not only these requirements, but also one ofthe requirements from Federal Rule of Civil

        Procedure 23(b). See Fed. R. Civ. P. 23(b).

               Plaintiffs seek to certify damages subclasses under Rule 23(b)(2) and Rule 23(b)(3). See Am.

        Consol. Class Action Compl. ,r 18S(a). A court may certify a class under Rule 23(b)(2) when ''the

        party opposing the class has acted or refused to act on grounds that apply generally to the class, so

        that final injunctive relief or corresponding declaratory relief is appropriate respecting the class as

        a whole." Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) has two requirements: (1) the party opposing the

        class must have acted, refused to act, or failed to perform a legal duty on grounds generally

        applicable to all class members, and (2) final relief of an injunctive nature or a corresponding

        declaratory nature, settling the legality of the behavior with respect to the class as a whole, must be

        appropriate.   See Beny v. Schulman, 807 F.3d 600, 608, 611 (4th Cir. 201S); Thom v.

        Jefferson-Pilot Life Ins. Co., 44S F .3d 3 N, 329-30 (4th Cir. 2006); Gaston v. LexisNexis Risk Sols.,

        Inc., 483 F. Supp. 3d 318, 341 (W.D.N.C. 2020); R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 182

        (D.D.C. 201S).

               Under Rule 23(b)(3), a court may certify a class where the questions of law or fact common

        to class members predominate over any other questions affecting only individual members, and a

        class action is superior to other available methods for fairly and efficiently adjudicating the

        controversy. See Fed. R. Civ. P. 23(b)(3). The matters relevant under Rule 23(b)(3) include:

               (A) the class members' interests in individually controlling the prosecution or
               defense of separate actions;
               (B) the extent and nature of any litigation concerning the controversy already begun
               by or against class members;
               (C) the desirability or undesirability of concentrating the litigation of the claims in
               the particular forum; and


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               (D) the likely difficulties in managing a class action.

        Id. This four-factor list is nonexclusive. See Am.chem Prods., Inc. v. Windsor, 521 U.S. 591,

        615-16 (1997); Ortiz v. Fibreboard Cor,p., 527 U.S. 815, 844-45 (1999).

               Rule 23(b)(3) requires a plaintiffto demonstrate predominance and superiority. See Gunnells

        v. Healthplan Servs., Inc., 348 F.3d 417, 424 (4th Cir. 2003) ("Rule 23(b)(3) class actions must meet

        predominance and superiority requirements not imposed on other kinds of class actions."); see, e.g..

        Thom, 445 F.3dat 321; Gregozyv. Finova Capital Cor,p.. 442 F.3d 188, 190 (4th Cir. 2006). The

        Supreme Court has called a Rule 23(b)(3) class action the ''most adventuresome" type of class action

        because it allows for money judgments "binding all class members save those who affirmatively

        elect□ to be excluded." Am.chem Prods., Inc., 521 U.S. at 614.


               A court should interpret Rule 23 to promote justice and judicial efficiency. See, ~.

        Gunnells, 348 F.3d at 424. A court must ensure that class certification fosters justice and judicial

        efficiency. See id. Rule 23 requires a court to take a "close look," Am.chem Prods., Inc., 521 U.S.

        at 615 (quotation omitted), and engage in ''rigorous analysis." Gen. Tel. Co. ofSw. v. Falcon, 457

        U.S. 147, 161 (1982); see Ortiz, 527 U.S. at 844-45; Am.chem Prods., Inc., 521 U.S. at 622-25;

        Thom, 445 F.3d at 318. Courts have broad, but not unlimited, discretion in deciding whether to

        certifyaRule23(b)class. See Ortiz, 527U.S. at844-45;Am.chemProds., Inc., 521 U.S. at622-25;

        Thom, 445 F.3d at 317; Gunnells, 348 F.3d at 424.

               At the class certification stage, a court may consider merits questions ''to the extent-but

        only to the extent-that they are relevant to determining whether the Rule 23 prerequisites for class

        certification are satisfied." Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455,466 (2013);

        see Bro:wn, 785 F.3d at 903 (same). Otherwise, "[a]n evaluation of the probable outcome on the

        merits is not properly part of the certification decision." Amgen Inc., 568 U.S. at 466 (quotation

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        omitted); see Bro~ 785 F.3d at 903. Generally, the persuasiveness of the class-wide evidence is

        for the jury. See Tyson Foods. Inc. v. Bouaphakeo, 577 U.S. 442, 459 (2016). Ifno reasonable juror

        could believe the class-wide evidence, then plaintiffs would lack common proof. See id.

                                                         A.
                Plaintiffs propose certification of two classes:       (1) a ''public utility'' class and (2) a

        "groundwater'' class. Plaintiffs define these classes as property owners or renters whose property:

                (1) is serviced by a public water utility servicing Bladen, Brunswick, Cumberland, New
                Hanover or Pender Counties that draws water from or obtains water drawn from the Cape
                Fear River downstream of Fayetteville Works; or

                (2) receives drinking water from a groundwater source with quantifiable concentrations
                of any of the Fayetteville Works PFAS ("FW PFAS") as defined in Exhibit A hereto.

        [D.E. 334-1] 23-24. Plaintiffs also propose certification of four subclasses:

               Owner-Occupier/Renter Damages Subclass: All Class Members who are currently
               owner-occupiers ofresidential property or currently rent residential property and have not
               yet installed both reverse osmosis filters and new water heaters on their property.

                Purchaser Damages Subclass: All Class Members who paid for bottled water, water
               heaters, and/or reverse osmosis filters from 2017 to present.

               Long-Time Property Owner Damages Subclass: All Class Members who purchased
               their residential property prior to June 2017 and have not installed both reverse osmosis
               filters and new water heaters.

               Health Study Injunctive and Declaratory Relief Subclass: All Class Members who
                consent to participate in the epidemiological study.

        Id. at 24. Plaintiffs propose Carey, Burris, and Nix to serve as class representatives and ask the court

        to appoint Cohen Milstein Sellers & Toll PLLC and Susman Godfrey LLP as Co-Lead Class

        Counsel. Defendants oppose the certification of both classes as well as the four subclasses. See.

        ~ ' [D.E. 342].




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                Rule 23 "contains an implicit threshold requirement that the members of a proposed class

        be readily identifiable." EQT Prod. Co. v. Adair, 764 F.3d 347, 358 (4th Cir. 2014) (quotation

        omitted); see Hammond v. Powell, 462 F.2d 1053, 1055 (4th Cir. 1972); Soutter v. Equifax Info.

        Servs., LLC, 307 F.R.D. 183, 196 (E.D. Va. 2015). Courts often refer to this requirement as the

        "ascertainability'' requirement. See Adair, 764 F.3d at 358. In order to certify a class under Rule

        23, a court must be able to ''readily identify the class members in reference to objective criteria."

        Id. Although plaintiffs ''need not be able to identify every class member at the time of certification,"

        plaintiffs must demonstrate that class members will be identifiable ''without extensive and

        individualized fact-finding or mini-trials." Id. (quotation omitted).

               Defendants contend that plaintiffs have failed to establish ascertainability because each

        individual property in this case would have to be individually assessed to determine the property's

        subclass. See [D.E. 342] 16-17. Defendants also contend that plaintiffs have failed to define the

        term "quantifiable concentrations" of PFAS and that the "detection limit for any compound varies

        depending on which laboratory is doing the analysis and what analytical method is being used." Id.

        at 16. Defendants also argue that extensive review of property records and financial evidence will

        be needed to determine ownership or rental of a property. See id. at 17; [D.E. 397] 2-3.

               Plaintiffs respond that the public utilities have records of"customer names and addresses that

        identify every occupied property in the contaminated service area." [D.E. 334-1] 25. Plaintiffs also

        note that under the NCDEQ Consent Order defendants continue to sample properties for the presence

        of PFAS, and plaintiffs propose using the methodology and instruments defendants use in their

        sampling under the NCDEQ Consent Order. See id. at 25-26. In reply, defendants cite Adair,

        where the Fourth Circuit noted the complexities ofreviewing property records or financial evidence·

        when ownership of a property was in flux. See Adair, 764 F.3d at 358-59.

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               The proposed damages subclasses apply only to "Class Members who are currently

        owner-occupiers of residential property or currently rent residential property'' and those who

        ''purchased their residential property prior to June 2017." [D.E. 334-1] 12. Ascertaining current

        owners and renters, or requiring proofthat a class member purchased his or her property before June

        2017, will not require a fact-intensive inquiry like the one in Adair. 1 Moreover, even if a putative

        class member has to produce several documents or trace their ownership through several steps, "[t]he

        number of steps in the process and the time and effort required have no bearing on whether the

        individuals are or are not objectively ascertainable." Soutter, 307 F .R.D. at 197 (quotation omitted);

        see Dunnigan v. Metro. Life Ins. Co., 214 F.R.D. 125, 136 (S.D.N.Y. 2003).

               Mei;nbers of the putative utility class are ascertainable. Plaintiffs define the putative utility

        class as "any owner or renter of residential property from February 1, 2015 to present that: (1) is

        serviced by a public water utility servicing Bladen, Brunswick, Cumberland, New Hanover or Pender

        Counties that draws water from or obtains water drawn from the Cape Fear River downstream of

        Fayetteville Works." [D.E. 334-1] 25. Plaintiffs can use the records of customer names and

        addresses to ascertain putative class members. Therefore, the putative utility class meets the

        ascertainability requirement.

               As for the ascertainability of the putative groundwater class, defendants argue that plaintiffs

        fail to specifically define "quantifiable concentrations" of PFAS or explain how to ascertain putative

        groundwater class members. See [D.E. 342] 16. Defendants also note that while plaintiffs define



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                  In Adair, the Fourth Circuit found ascertainability lacking regarding ownership of gas
        estates because ownership changed hands frequently and records of ownership were 20 years out of
        date. Adair, 764 F.3d at 358-59. The Fourth Circuit held that reliance on thousands of pages of
        local land records to determine who owned what gas estate and exactly when they owned it
        constituted a "significant administrative barrier to ascertaining the ownership classes." Id. at 359.

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        the groundwater class to include exposure to a list of 41 "Fayetteville Works PFAS compounds"

        listed in [D.E. 385-2], the defendants' tests under the NCDEQ Consent Order measure only for 12

        ''particular PFAS compounds." [D.E. 397] 1.

                Plaintiffs reply that they will exclusively rely on defendants' testing records and methods,

        including the defendants' definition of "quantifiable concentrations," to detemµne members of the

        putative groundwater class. See [D.E. 334-1] 25-26; [D.E.385] 19. This method allows plaintiffs

        to ascertain putative groundwater class members exposed to the 12 PFAS compounds defendants

        measure in their testing. Of course, further sampling of these identified class members arguably

        would be needed in order to determine whether any of the other PFAS not included in the NCDEQ

        Consent Order testing are present in a putative class members' ground water.2 Such additional

        sampling, however, does not raise an ascertainability problem. Defendants' testing already would

        have ascertained the putative groundwater class member. Thus, the proposed groundwater class is

        ascertainable.

               The two proposed classes meet the threshold ascertainability requirement of Rule 23 class

        certification. Next, the court addresses Rule 23(a)'s requirements seriatim.

                                                          1.

               As for numerosity under Rule 23(a)(l), "[t]here is no mechanical test for determining

        whether in a particular case the requirement ofnumerosity has been satisfied." Kelley v. Norfolk

        & W. Ry., 584 F.2d 34, 35 (4th Cir. 1978) (per curiam). "The issue is one primarily for the District



               2
                   Although additional testing could find the other PFAS, such testing would not be necessary.
        If, as plaintiffs argue, any quantifiable concentration ofFW PFAS necessitates replacement or repair
        of residential water systems (see, e.g., [D.E. 334-1] 35), then a measurable concentration of the 12
        PFAS defendants currently test for under the NCDEQ Consent Order would appear to justify
        replacement or repair.

                                                         39

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        Court, to be resolved in the light of the facts and circumstances of the particular case." Id.; see In

        reZetia(Ezetimibe)AntitrustLitig., 7F.4th227, 234 (4th Cir. 2021); Holseyv. Armour& Co., 743

        F.2d 199, 217 (4th Cir. 1984). Plaintiffs identify over 100,000 potential members of the putative

        classes. See [D.E. 334-1] 27. Defendants do not dispute that plaintiffs satisfy the numerosity

        requirement. The court finds that the proposed classes meet Rule 23(a)' s numerosity requirement. .

                                                         2.

               As for commonality under Rule 23(a)(2), "[c]ommonality requires the plaintiff to

        demonstrate that the class members.have suffered the same injury." Wal-Mart Stores, Inc., 564 U.S.

        at 349--50 (quotation omitted); see,~, Gen. Tel. Co. of Sw., 457 U.S. at 157; .Adair, 764 F.3d at

        360; Bruzek v. Husky Oil Operations Ltd., 520 F. Supp. 3d 1079, 1094 (W.D. Wis. 2021); Rowe v.

        E.I.DuPontDeNemours&Co.,262F.R.D.451,456(D.N.J.2009);Haywoodv.Bames, 109F.R.D.

        568, 577 (E.D.N.C. 1986). Commonality requires more than showing that class members "have all

        suffered a violation of the same provision oflaw." Wal-Mart Stores, Inc., 564 U.S. at 350. Instead,

        commonality requires that the class members' claims "depend upon a common contention" whose

        resolution ''will resolve an issue that is central to the validity of each one of the claims in one

        stroke." Id. Thus, a common question under Rule 23(a)(2) is one likely to. "generate common

        answers" class-wide. Id. (quotation and emphasis omitted); see Bro~ 785 F.3d at 909. "A single

        common question will suffice ...." Adair, 764 F.3d at 360; see Wal-Mart Stores, Inc., 564 U.S. at

        349; Sullivan v. Saint-Gobain Performance Plastics Corp.. No. 5:16-cv-125, 2019 WL 8272995, at

        *11-12 (D. Vt. Aug. 23, 2019) (unpublished); Bentley v. Honeywell lnt'l Inc., 223 F.R.D. 471,

        480--82 (S.D. Ohio 2004).

               The commonality requirement does not necessarily "require that all the questions oflaw and

        fact raised by the dispute be common,just that any dissimilarities between the claims do not impede

                                                         40

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        a common resolution." Hooker v. Citadel Salisbucy LLC, No. 1:21-cv-384, 2023 WL.3020967, at

        *4 (M.D.N.C. Apr. 20, 2023) (unpublished) (quotations omitted). "The commonality test is

        qualitative." Id. "Quantitatively, almost by definition there will always be more individual ...

        issues than common liability issues." Gunnells, 348 F.3d at 429. "Qualitatively, however, liability

        issues may far exceed in complexity the more mundane individual damages issues." Id. (cleaned up).

        A question is not common "if its resolution turns on a consideration ofthe individual circumstances

        of each class member." Thorn, 445 F.3d at 319 (quotation omitted).

                Plaintiffs argue that at least one of the following common questions of law and fact justify

        class certification:

                a. whether Defendants released FW PFAS;

                b. whether and for how long Defendants knew of the release ofFW PFAS;

                c. whether FW PFAS have coritamjnated Class Members' properties;

                d. whether Defendants owed and breached a duty of care to Plaintiffs by allowing FW
                PFAS to be released into the Cape Fear River and surrounding groundwater and air;

                e. whether Defendants owed and breached a duty of care to Plaintiffs and the Class
                to act reasonably to remediate, contain, and eHmjnate FWPFAS contamjnati.on before
                it injmed Class Members' properties;

               f. whether Defendants' release of FW PFAS into Plaintiffs' properties is an
               objectively unreasonable interference with Plaintiffs' use and enjoyment of their
               properties;

               g. whether Defendants' contamjnation ofthe Class Area with FW PFAS such that FW
               PFAS will continue to enter Plaintiffs' properties is a continuing trespass;

               h. whether reverse osmosis filters and new water heaters are the appropriate remedy
               to restore Plaintiffs' properties to a condition free from Defendants' contamjnation;
               and

               i. whether reverse osmosis filters and new water heaters are the appropriate remedy
               to prevent futme FW PFAS contamjnation caused by Defendants' discharges.


                                                     41

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        [D.E. 334:.1] 27-28. Defendants do not appear to challenge plaintiffs' proposed common questions

        oflaw or fact, but instead focus on the typicality requirement under Rule 23(a)(3). See [D.E. 342]

        42-43; Deiter v. Microsoft Con,., 436 F.3d 461, 466--67 (4th Cir. 2006) (noting the ''typicality

        requirement goes to the heart of a representative parties' ability to represent a class, particularly as

        it tends to merge with the commonality and adequacy-of-representation requirements"). The court

        finds that the proposed classes meet Rule 23(a)'s commonality requirement.

                                                           3.

               As for typicality under Rule 23(a)(3), typicality focuses on whether ''the claims of the

        representative parties [are] typical of the claims of the class." Haywood, _109 F.R.D. at 578; see

        Amchem Prods., Inc., 521 U.S. at 613; Gen. Tel. Co. ofSw., 457 U.S. at 157 n.13; Deiter, 436 F.3d

        at 466. A claim is typical if it "it arises from the same event or practice or course of conduct that

        gives rise to the claims of other class members, and if his or her claims are based on the same legal

        theory." Beattie v. CenturyTel, Inc., 511 F.3d 554, 561 (6th Cir. 2007) (quotation omitted); see

        Deiter, 436 F .3d at 466; Romero, 796 F. Supp. 2d at 714. The typicality requirement recognizes ''the

        notion that as goes the claim of the named plaintiff, so go the claims of the class." Deiter, 436 F.3d

        at 466 (quotation omitted); see Soutter, 498 F. App'x at264---65; Broussard v. Meineke Disc. Muffler

        Shops, Inc., 155 F .3d 331, 340 (4th Cir. 1998). Although the named plaintiff's claim does not have

        to be identical or perfectly aligned with absent members, ''plaintiff's claim cannot be so different

        from the claims of absent class members that their claims will not be advanced by plaintiff's proof

        of his own individual claim." Deiter, 436 F.3d at 466--67. The court analyzes defendants' typicality

        challenges in turn.




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                                                          i.

                Plaintiffs argue that their claims for negligence, private nuisance, and trespass "are typical

         of Class Members' claims." [D.E. 334-1] 30. Defendants respond that every cause of action,

         damage calculation, and affirmative defense requires individual assessments of class members'

        property. [D.E. 342] 18-33. Specifically, defendants contend that inquiries into cause in fact,

        proximate cause, and damages all require individualized assessment ofeach plaintiffs' property. See

        id. In support, defendants argue that "PFAS are ubiquitous throughout the Cape Fear River basin,

        including PFAS created by other parties though a wide variety of processes and uses." Id. at 18.

                Even if other sources of PFAS exist in the Cape Fear River, the court credits the reports of

        plaintiffs' expert witnesses Albright, Duncklee, and Gidlow describing avenues of common

         causation. Albright described how Fayetteville Works allegedly discharged 89 million pounds of

        PFAS traceable to defendants into the water supply and discharged approximately four million

        pounds of PFAS traceable to defendants into the surrounding air. See [D.E. 336-8] ,r 97. Albright

        and Duncklee opined that the PFAS produced at the Fayetteville Works contained a unique

        "chemical fingerprint"attributable to defendants stemming from defendants' manufacturing process.

        See [D.E. 377-3] ,r 31; [D.E. 336-8] ,r 37. Gidlow measured the geographic reach of PFAS

        contamination attributable to defendants and opined that PFAS attributable to defendants has flowed

        into putative class membe~s' residences from the Brunswick County Northwest Water Treatment

        Plant and Cape Fear Public Utility Authority's Seeny Water Treatment Plant. See [D.E. 336-22] ,r,r

        4, 10, 12, 58-59. Plaintiffs also have provided other potential sources of class-wide proof of

        causation, including defendants' records and testing. See, e.g., [D.E. 336-15]; [D.E. 336-21] ,r 72.

               The question of causation for the proposed classes turns on the common question ofwhether

        defendants' chemicals with their unique "chemical fingerprint" contaminated these public utility

                                                         43

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        somces and groundwater somces. See.~ Sullivm1, 2019 WL 8272995, at *12. Defendants in

        their smreply introduced new evidence that fom PFAS identified in the class certification motion

        may not be solely attributable to defendants. See [D.E. 397] 2-3; [D.E. 397-1]. This evidence,

        however, addresses a merits question common to the entire class. Thus, plaintiffs ~ve proposed

        plausible methods of demonstrating class-wide causation in fact for their proposed classes.

               In opposition, defendants cite Farrar & Farrar Dairy. Inc. v. Miller-St. Nazianz, Inc., 254

        F.RD. 68, 74 (E.D.N.C. 2008). In Farrar, the silage bags at issue were "extremely sensitive, and

        numerous things can cause silage bags to fail, including commonplace forces and events." Id.

        Unlike Farrar, defendants' PFAS chemicals have a "chemical fingerprint" that provides a method

        to trace causation. Defendants also cite Reilly v. Gould. Inc., 965 F .. Supp. 588, 603 (M.D. Pa.

        1997). In Reilly, the court found that there was no method to reliably determine whether a class

        member's.lead exposure came from defendants' process or from "other prevalent sources of lead

        emission." Id. In contrast to Reilly. plaintiffs have provided a plausible.method to determine the

        somce ofputative class members' PFAS exposme. Thus, causation in fact does not defeat typicality.

                                                         ii.

               Defendants argue that individual issues predominate the proximate causation analysis.

        because plaintiffs "allege a series of separate acts or inactions by two companies taking place over

        forty years, involving different process lines, different products, different emissions, different

        exposme pathways, and different substances." [D.E. 342] 19. Defendants assert that "differences

        in when the release [ofPFAS] took place, the substance at issue, the technology employed, the state

        of the art, and which properties were impacted by which conduct are not mere formalities" but are

        decisive issues in the case. [D.E. 397] 4.



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                To the extent defendants contest the sufficiency of plaintiffs' proximate cause evidence,

         "courts may not consider'' this merits factor "in ruling on a motion for class certification." Gunnells,

         348 F .3d at 428. As for the argument about different emissions over time, it is unclear why such

         differences would necessitate different liability for "each property at issue." See [D.E. 397] 4.

         Plaintiffs are not seeking to stratify their subclasses based on exposure to a certain PFAS or based

         on when each plaintiff's property was exposed to PFAS, but instead included class members who

         either "currently'' own or rent property or ''who purchased their residential property prior to June

        2017 and have not installed both reverse osmosis filters and new water heaters." [D.E. 334-1] 24.

        As for defendants' challenge to proximate cause for certain PFAS emissions, defendants have not

         demonstrated that some individual properties in the putative class could, for example, have been

         exposed only to a PFAS compound from decades ago but not from recent PFAS emissions.

        Although defendants may challenge proximate cause at a later time, ''whether the class members can

        win on the merits of the issue common to the class is not a factor'' under Rule 23. Daffin v. Ford

        Motor Co., 458 F.3d 549, 553 (6th Cir. 2006); see Amgen Inc., 568 U.S. at 466; Eisen v. Carlisle

        & Jacquelin, 417 U.S. 156, 177-78 (1974) ("We find nothing in either the language or history of

        Rule 23 that gives a court any authority to conduct a pre1iminary inquiry into the merits of a suit in

        order to determine whether it may be maintained as a class action."); BroMi, 785 F .3d at 903 (same);

        Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 58 (2d Cir. 2000) (same); Doctor

        v. Seaboard Coast Line R.R., 540 F.2d 699, 707 (4th Cir. 1976) (same), abrogated on other grounds

        by Gardner v. Westinghouse Broad. Co., 437 U.S. 478 (1978); 7AA Charles Allen Wright, et al.,

        Wright & Miller Federal Practice and Procedure § 1785 (3d ed. 2005). Thus, the court rejects

        defendants' argument about proximate causation at this stage.



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                                                          iii.

                Defendants challenge the typicality of plaintiffs' nuisance claims. Defendants argue that

        under North Carolina law, proving "unreasonable interference" with property rights requires

        individual facts and inquiries into each property owner or renter's specific exposure to PFAS. See

        [D.E. 342] 31-32 ; [D.E. 397] 4--5. Plaintiffs respond that ''nuisance may be proven by showing that

        any measurable amount of FW PFAS constitutes a nuisance, thereby requiring remediation, repair,

        and prevention." [D.E. 385] 15 (emphasis removed).

                The alleged PFAS contamination of plaintiffs' water systems, and the need to replace water

        heaters or filters, is typical among the proposed classes. Several cases support this conclusion. For

        example, in Freeman v. Blue Ridge Paper Products, Inc., No. 2:08-CV-35, 2011 WL 13098808, at

        *1 (E.D. Tenn. Sept. 30, 2011) (unpublished), the court applied North Carolina law and analyzed

        whether to certify a putative class of property owners along a river alleging nuisance claims.

        Specifically, plaintiffs alleged that defendant injured them by "discharging certain waste from

        defendant's Canton, North Carolina paper mill into the Pigeon River." Id. The court held that"[a]n

        upper riparian landowner's unreasonable use of water quantity or diminution of its quality permits

        a lower riparian owner to maintain a civil action in nuisance or trespass to land." Id. at *4 (quotation

        omitted); see Biddix v. Henredon Furniture Indus., Inc., 76 N.C. App. 30, 35, 331 S.E.2d 717, 721

        (1985). The Freeman court also found that defendant's discharge affected the water quality of the

        proposed class and satisfied the typicality requirement. See Fre~ 2011 WL 13098808, at *7.

               Similarly,inRuddv.ElectroluxCon,.. 982F. Supp. 355, 369--70(M.D.N.C.1997), the court

        found that the ''threat of continued trespass" from the chemical discharge "and the need to install

        monitoring wells" sufficed ''to permit a jury to find nuisance." Although Rudd did not involve class •

        certification, the alleged intrusion and damages in Rudd are similar to those in this case. As in Rudg,

                                                          46

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        plaintiffs uniformly allege a continuing trespass from PFAS and cite the need to install replacement

        filters or hot water heaters to abate the alleged nuisance. See,~' [D.E. 334-1] 42-44, 45--47.

        Thus, the court finds that plaintiffs' nuisance claim does not defeat typicality.

                                                          iv.

               Defendants argue that resolving defendants' affirmative defenses require individual inquiry.

        See [D.E. 342] 32-33; [D.E. 397] 5-6. For example, defendants contend that determining statute

        of limitation defenses or other timeliness defenses ''will necessarily vary from individual to

        individual." [D.E. 342] 32. Plaintiffs respond that the public was first made aware ofPFAS in 2017

        and that only in the last few years were laboratories able to detect PFAS that defendants allegedly

        emitted. See [D.E. 385] 23; [D.E. 401-1] 7. As a result, plaintiffs argue that the putative class could

        not have been aware of their claims against defendants until 2017..See [D.E. 385] 23. As for the

        trespass and nuisance claims, plaintiffs also argue that they "do not seek to recover losses incurred

        prior to June 2017;" therefore, the statute of limitations or statute of repose are not implicated. See

        id.; see also [D.E. 336-17]; [D.E. 336-30] 6. Defendants reply and cite plaintiffs' expert, Albright,

        who included a diagram in his report that scientists reported PFAS in the water as early as 2012. See

        [D.E. 336-8 ] 32.

               Albright' s diagram does not identify which particular scientists were aware of PFAS in the

        water and to whom (if anyone) they reported the information. Moreover, plaintiffs contend that

        Albright's report references "a group of researchers from North Carolina State University, the

        University ofNorth Carolina at Charlotte, and several government agencies [who] published a paper

        showing elevated levels of PFAS in a drinking water treatment plant along the Cape Fear River."

        [D.E. 334-1] 20. According to plaintiffs, the authors did not circulate these findings until 2017. See

        id.

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                Although defendants may challenge plaintiffs' theory about when the putative class could

        have become aware of the claims, this question is uniform among the putative class. Furthermore,

        whether plaintiffs prevail on their theory on the merits is "not a factor under Rule 23." Daffin, 458

        F.3d at 553; see Amgen Inc., 568 U.S. at 466; Eisen, 417 U.S. at 177-78; Bro~ 785 F.3d at 903;

        Baff~ 222 F .3d at 58; Doctor, 540 F .2d at 707. Thus, defendants' affirmative defenses do not defeat

        typicality.

                                                          v.
                Defendants argue that questions of injury and damages require individual inquiry and lack

        typicalityacrosstheputativeclasses. See [D.E. 342] 23-30; [D.E. 397] ~- Defendantsciteunique

        ''physiochemical properties" of PFAS which require individualized analysis and measurement of

        each putative class members' property. [D.E. 342] 26. Defendants also argue that insufficient

        evidence supports plaintiffs' argument that mere presence of any PFAS in the water is injurious to

        human health in such a way to necessitate class-wide replacement damages regardless of actual

        PFAS concentration. See [D.E. 397] 7.

                The parties disagree about whether the presence in the water of a quantifiable concentration

        of PFAS alone, regardless of actual concentration, suffices to maintain the replacement damages

        plaintiffs seek. In support of plaintiffs' position, plaintiffs cite evidence that defendants allegedly

        were aware that a quantifiable concentration of PFAS in the water could injure human beings. See

        [D.E. 336-19] ~- Plaintiffs also cite expert testimony that measurable amounts of PFAS in water

        systems pose a risk to humans. See [D.E. 336-26] ,r,r 1-3; [D.E. 336-27] ,r,r 25-26. Plaintiffs also

        cite Gamble's opinion about the necessity of humans to use bottled water until the quantifiable

        concentrations of PFAS in a resident's water system is removed. See [D.E. 336-28] ,r,r 28-29.



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                  Defendants respond that risks to humans vary depending on the "amount and type of the

        PFAS." [D.E. 397] 7. Defendants also claim that no evidence suggests that PFAS in the water is

        "injurious to human health." Id.

                  As.discussed, for purposes of class certification on the three claims at issue, the court need

        not draw the line between unsafe levels ofPFAS and toxic levels ofPFAS. Regardless ofwhere that

        line is, plaintiffs' claims still could necessitate replacement or repair of the compromised systems.

        Moreover, the three remajnjng claims do not involve personal injury in which toxicity to humans is
                                    I

        relevant to causation. See [D.E. 385] 24.

                  Although questions of whether quantifiable concentrations of PFAS are unsafe or toxic to

        humans may be relevant to the remedy (e.g., ''flushing" water systems versus full replacement), the

        court can resolve this potential merits issue through common proof. Furthermore, the outcome of

        this question is not relevant to class certification. See Amgen Inc., 568 U.S. at 466; Eisen, 417 U.S.

        at 177-78; Brown, 785 F .3d at 903; Daffin, 458 F.3d at 553; Baffa, 222 F.3d at 58; Doctor, 540 F.2d

        at 707.

                  Next, defendants cite multiple cases for the proposition that toxic emissions or contamjnation

        below mjnjmums established by regulatory agencies do not constitute a legally-recognized injury.

        See,~, In re WildeWood Litig.. 52 F.3d 499, 503 (4th Cir. 1995); Brooks v. E.I. du Pont de

        Nemours & Co., 944 F. Supp. 448,449 (E.D.N.C. 1996). These cases, however, concerned emission

        of chemicals that government agencies had studied and regulated. For example, in Brooks, the court

        granted summary judgment to defendant because the plaintiffs ''failed to allege sufficient past or

        present contamjnation in violation of the North Carolina groundwater guidelines." Brooks, 944 F.

        Supp. at 450 (emphasis added). As for In re WildeWood Litigation, that case concerned the

        emission and treatment of trichloroethane, which the Pollution Control Authority of South Carolina

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        regulated. See In re WildeWood Litig.. 52 F.3d at 501--03 (noting that the Pollution Control

        Authority had established regulations on proper treatment, control, and discharge oftrichloroethane

        and that defendant was not negligent per se because they followed these regulations). Unlike in

        Brooks or In re WildeWood Litigatiolb defendants have not provided evidence that North Carolina

        regulatory agencies have determined a minimum safe amount of FW PFAS contamination or

        protocol to treat water contaminat.ed with PFAS to a level with a safe amount of PFAS. Although

        the NCDEQ Consent Order requires measurement for certain PFAS and outlines methods for testing,

        it does not create a regulatory scheme establishing a minimnm safe amount of exposure. See [D.E.

        336-9] 21.3

               As for defendants' argument that flushing water heaters and systems is a preferable remedy,

        the argument recognizes a risk of contaminati.on. See [D.E.397] 8. Moreover, to the extent

        defendants cite this alternative remedy as an effective, lower cost option to remedy damage to water

        systems, this proposal does not suffice to defeat class certification. "Rule 23 explicitly envisions

        class actions with ... individualized damage determinations." Gunnells, 348 F.3d at 428; see In re

        Aqueous Film-Forming Foams Prod. Liab. Litig., No. 2:18-MN-2873, 2021 WL 248471, at *4

        (D.S.C. Jan. 25, 2021) (unpublished) (noting that individualized damage calculations did not defeat

        certification where plaintiffs' claims arose from ''the same alleged exposure to the same chemicals

        in the same geographical area").




               3
                 As noted, North Carolina has set the preliminary health goal for GenX of 140 ppt. See
        [D.E. 132-1] ,r,r 22, 92. Health goals, however, are distinguishable from the regulations at issue in
        Brooks and In re WildeWood Litigation because health goals are ''non-regulatory and non-
        enforceable." State ofNorth Carolina, GenX Frequently Asked Questions 5, https://files.nc.gov/ncde
        q/GenX/DEQ-GenX%20FAQ%2008212017%201.pdf (last visited Oct. 4, 2023).

                                                         so

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                                                         vi.

               Although the court finds typicality regarding plaintiffs' proposed primary injury

        and damages, the court rejects plaintiffs' "in-the-alternative form of damages" of "diminution-in-

        value." See [D.E. 385] 22. First, plaintiffs do not adequately explain why they have proposed this

        damages calculation. Plaintiffs maintain that diminution in value is an alternative theory and that

        they primarily seek replacement costs. See id. Plaintiffs also argue, however, that the diminution-in-

        value remedy functions to rebut any claim ''that the remediation and repair model is excessive." Id.

               The problem with the diminution-in-value remedy stems from the lack of common proof of

        causation. Defendants note that plaintiffs' expert Sunding' s model only averages loss over "130,000

        different properties across five counties" and does not include "key property-specific variables."

        [D.E. 342] 28. Even if these shortcomings do not make Sunding's calculations or methods

        unreliable under Federal Rule of Evidence 702, these sweeping averages alone do not suffice to

        demonstrate common proof of causation for the diminution-in-value remedy. See id. Alleged

        contamination of water systems constitutes a concrete injury directly attributable to alleged PFAS

        contamination. Calculating a general dollar amount reflecting ''unreasonable interference with the

        use and enjoyment of property" requires a far deeper individualized inquiry than Sunding's model

        captures. See Kent, 303 N.C. at 677, 281 S.E.2d at 45.

               Outside of putting a dollar value on how PFAS contamination affects general enjoyment of

        a property, the extent of alleged PFAS contaminati.on will affect a property's diminution in value in

        the market. The court credits the report of defendants' expert Jennifer Pitts, who opines that the

        alleged PFAS contamination would not affect each property uniformly. See [D.E. 342-2] 2.

        Especially because of the large geographic spread among putative class members, factors such as

        distance to urban hubs, local government influences, proximity to bodies of water, and myriad

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        economic and lifestyle influences produce significant regional and local variations. See id. at 16.

        Without assessing these factors at a more local level, Sunding' s average alone cannot determine

        whether an alleged coDtamination alone would cause a diminution of property value.
                         .
               In opposition, plaintiffs cite Ward v. Dixie National Life Insurance Co., 595 F.3d 164, 180

        (4th Cir. 2010), and argue that common damages are allowed when plaintiffs provide a simple class-

        wide method for calculating such damages. In Ward, the Fourth Circuit held that the calculation of

        ''the difference between the amount defendants should have paid ... and the amount defendants

        actually paid" was sufficiently simple to allow for common damages. Id.

               Sunding's method is not as simple as the method in Ward. Moreover, Sunding's calculation

        does not reflect common damages, but average damages. The adjustments up or down from this

        amount, and whether such adjustments were actually or proximately caused by PFAS, would require

        individualized inquiries not captured in Sunding' s model or any other simple calculation.

               Ifputative class members believe that unique characteristics ofPFAS coDtamination on their

        property require such a diminution-in-value remedy, such individuals can opt out of a Rule 23(b)(3)

        class and pursue such damages individually. See, e.g., Beaulieu v. EQ Indus. Servs., Inc., No. 5:06-

        CV-400, 2009 WL 2208131, at *19 (E.D.N.C. July 22, 2009) (unpublish~). The court does not

        grant certification for the alternative remedy of diminution of value.

                                                         4.
               As for the fourth requirement under Rule 23(a)(4), ''the representative parties [must] fairly

        and adequately protect the interests of the class." Fed. R. Civ. P. 23(a)(4). A "class representative

        must be part of the class and possess the same interest and suffer the same injury as the class

        members." Amchem Prods.• Inc., 521 U.S. at 625-26 (quotation omitted); see In re Red Hat Inc.

        Sec. Litig., 261 F.R.D. 83, 87 (E;D.N.C. 2009). The adequacy inquiry "serves to uncover conflicts

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        of interest between named parties and the class they seek to represent." Am.chem Prods., Inc., 521

        U.S. at625; see Sharp Farms v. Speaks, 917F.3d276, 295 (4th Cir. 2019); Beattie, 511 F.3dat562.

        A conflict must be considered "fundamental" to defeat the adequacy requirement. See Dewey v.
                                                                                     (




        Volkswagen Aktiengesellschaft, 681 F.3d 170, 183-84 (3d Cir. 2012); Ward, 595 F.3d at 180;

        Gunnells, 348 F.3d at 430-31. "A conflict is not fundamental when ... all class members share

        common objectives and the same factual and legal positions and have the same interest in

        establishing the liability of defendants." Ward, 595 F.3d at 180 (quotation and alteration omitted);

        see Gunnells, 348 F.3d at 430-31. In assessing the representative's adequacy, courts may consider

        several factors including "honesty, conscientiousness, and other affirmative personal qualities."

        Shiring v. Tier Techs., Inc., 244 F .R.D. 307, 315 (E.D. Va. 2007) (quotation omitted); see In re Red

        Hat 261 F.R.D. at 87.

               Defendants raise several objections to plaintiffs' proposed class representatives, including

        alleged conflicts of interests, alleged misrepresentations by proposed class representative Nix, and

        alleged atypicality of claims. See [D.E. 342] 37-44. As for alleged conflicts of interests, defendants

        argue that previous and current owners of property, tenants and landlords of properties, and injured

        and uninjured putative class members have irreconcilable conflicts of interest. See id. at 37--41.

        Plaintiffs respond that defendants' alleged conflicts are merely hypothetical.

               The alleged conflicts of interest largely concern plaintiffs' alternative remedy for diminution

        of value. The court, however, declines to certify plaintiffs' proposed class for that alternative

        remedy. Thus, defendants' arguments concerning that alternative remedy prove nothing.

               Defendants' argument concerning the alleged conflict between injured versus non-injured

        putative class members misunderstands the scope ofthe amended complaint. The remaining claims

        in plaintiffs' amended complaint do not involve personal injuries. Thus, whether a putative class

                                                         53

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        member claims to have been personally injured by defendants' PFAS is irrelevant to whether his or

        her property has been damaged. Moreover, the general rule against "claim splitting" does not apply

        in class actions. See Gunnells, 348 F.3d at 432. Therefore, plaintiffs' proposed class representatives

        are not in conflict with plaintiffs' proposed damages subclasses.

                Next, defendants argue that the court should not permit Nix to serve as a class representative

        because Nix allegedly misrepresented his educational background on his Linkedln account. See

        [D.E. 342] 41. Defendants do not attempt to connect Nix's alleged Linkedln misrepresentation to

        the underlying merits of the case or attempt to argue that Nix has otherwise been dishonest in this

        litigation.   Thus, Nix' s alleged Linkedln misrepresentation does not suffice to deny class

        certification. See, e.g., Pontones v. San Jose Rest. Inc., No. S:18-CV-219, 2019 WL S680347, at

        *7-8 (E.D.N.C. Oct. 31, 2019) (unpublished).

                Defendants also argue that proposed class representatives each have atypical exposure to

        PFAS, property types, and damages'. As for PFAS exposure, simply because the property of each

        proposed class representative had different levels of PFAS exposure does not make their claims

        atypical from the proposed class. Plaintiffs' theory in this case is that any PFAS exposme beyond

        the quantifiable threshold suffices to compromise a water heater or filtration system. See, e.g., [D.E.

        38S] 20. Therefore, regardless ofthe level of PFAS exposme beyond the quantifiable threshold, the

        putative class members share the "same factual and legal positions" and have ''the same interest in

        establishing the liability of defendants." Warg, S9S F .3d at 180 (quotations omitted). Moreover,

        whether plaintiffs' theory regarding PFAS exposme is correct is a merits question and not a

        consideration under Rule 23(a)(4) of class representatives. See Amgen Inc., S68 U.S. at 466; Eis~

        417 U.S. at 177-78; Brown, 78S F.3d at 903; D ~ 458 F.3d at S53; Baff~ 222 F.3d at S8; Doctor,

        S40 F.2d at 707.

                                                          S4

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               Defendants attack the typicality ofproposed class representatives' hot water heater damages.

        In support, defendants note that plaintiffs' "counsel paid to replace Victoria Carey's water heater in

        2017 ," but Carey "has not replaced any other plumbing pipes, fixtures, or appliances in her home."

        [D.E. 342] 44. Defendants also note that "Marie Burris does not even know if her hot water heater

        has been replaced since she purchased her home in 2005." Id.

               Defendants do not explain why these examples make the proposed representatives' claims

        atypical. Whether the alleged damage, trespass, or nuisance involves the hot water heaters, water

        filters, plumbing, or any other water system, the alleged underlying injury is sufficiently similar:

        quantifiable PFAS exposure in plaintiffs' water system. Cf. Amchem. Prods., Inc., 521 U.S. at

        625-26.

               Next, defendants argue that the proposed class representatives do not rent their properties.

        Both property owners and rental putative class members allege injuries to their possessory interests

        in their property. Under North Carolina law, tenants have a possessory interest in property. See

        Kent, 303 N.C. at 679,281 S.E.2d at 46 (holding that a tenant has a "a sufficient property interest

        tomaintainaclaiminnuisance"); Pagev. Corvias Qm., LLC, No. 5:20-CV-336, 2021 WL4163562,

        at *10 (E.D.N.C. Sept. 13,2021) (unpublished) (same);Burn v. LendLease(US)Pub. P'shipsLLC,

        No. 7:20-CV-174, 2021 WL 4164685, at *10 (E.D.N.C. Sept. 13 2021) (unpublished) (same).

        Although there are some differences between owners and renters, the fundamental issues and injuries

        alleged sufficiently overlap to justify class certification. Cf. Pontones, 2019 WL 5680347, at*7;

        Zelaya v. A+ Tires, Brakes, Lubes, & Mufflers, Inc., No. 5:13-CV-810, 2015 WL 5703569, at *5

        (E.D.N.C. Sept. 28, 2015) (unpublished).

               Defendants challenge proposed class representative Nix because he seeks to "recover

        damages to plumbing fixtures in the home that he no longer owns, despite the fact that no one has

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        ever told him the plumbing fixtures or appliances in the home were damaged by PFAS." [D.E. 342]

        44. Even if defendants are correct, Nix claims to have purchased bottled water at $100 dollars a

        month and Nix's claims are, at minimum,' fairly representative of plaintiffs' proposed bottled water

        damages subclass. See Am. Consol. Class Action Compl. ~ 128. Thus, the court finds that

        plaintiffs' proposed classes and damages subclasses, excluding the alternative diminution-in-value

        remedy, satisfy the requirements of Rule 23(a).

                                                         B.
                Next, the court addresses whether the first three subclasses meet the requirements for

        certification under Rule 23(b)(3). Defendants argue that class treatment is not the superior method

        of adjudication because of the alleged difficulties in managing such an action, the superiority of

        individual suits, and the preferability of ongoing NCDEQ regulatory action in resolving PFAS

        disputes. See [D.E. 342] 34-37. Plaintiffs respond that the relatively small potential recovery for

        each putative class member makes individual suits impractical. See [D.E. 385] 24-25. Plaintiffs

        also argue that the NCDEQ Consent Order does not remedy plaintiffs' alleged injuries. See id. at

        25.

               As for the superiority requirement, plaintiffs must demonstrate that proceeding as a class "is

        superior to other available methods for fairly and efficiently adjudicating the controversy." Fed. R.

        Civ. P. 23(b)(3); see Thorn, 445 F.3dat319; Lienhartv. Dzyvit Sys.. Inc., 255 F.3d 138, 147-49 (4th

        Cir. 2001). In assessing superiority, a court should consider: (1) the class members' interests in

        individually controlling the prosecution or defense of separate actioils; (2) the extent and nature of

        any litigation concerning the controversy already begun by or against class members; (3) the

        desirability or undesirability of concentrating the litigation ofthe claims in the particular forum; and

        (4) the likely difficulties ill managing a class action. See Fed. R. Civ. P. 23(b)(3); Thorn, 445 F.3d

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        at 319; K.rakauerv. Dish Network L.L.C., 311 F.R.D. 384,400 (M.D.N.C. 2015), aff'd, 925 F.3d

        643 (4th Cir. 2019). A court also should consider ''whether Rule 23 is sufficiently effective to justify

        the expenditure of the judicial time and energy that is necessary to adjudicate a class action and to

        assume the risk of prejudice to the rights of those who are not directly before the court." Stillmock

        v. Weis Mk.ts., Inc., 385 F. App'x 267, 274 (4th Cir. 2010) (per curiam) (unpublished) (quotation

        omitted); see Wolin v. JaguarLandRoverN. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010); 7AA

        Charles Allen Wright, et al., Wright & Miller Federal Practice and Procedure § 1779 (3d ed 2005).

               As for the first and second factors (i.e., individual control and other litigation), defendants

        claim that the pending consolidated action in Dew v. E.I. DuPont d~ Nemours & Co., Nos.

        5:18-CV-73, 5:20-CV-208 (E.D.N.C. Feb. 21, 2018), demonstrates that plaintiffs possess "clearly

        potentially valuable claims that individual property owners have an interest in pursuing-and are

        pursuing-independently." [D.E. 342] 34. In support, defendants contend that the Dew action has

        1,649 plaintiffs. See [D.E. 397] 9. Given that the putative class in this case has potentially over

        100,000 members, the Dew action represents approximately 1% of putative class members. See

        [D.E. 334-1] 27.

               Even if the Dew action demonstrates that prosecuting claims individually is possible,

        individual claims in this case are not preferable. Plaintiffs in this case filed suit before the

        individuals in Dew, and this first-filed action is the "superior vehicle" forresolving such claims. See

        Blairv. Equifax Check Servs., Inc., 181 F.3d 832,838 (7th Cir. 1999) cf. Inre Camp Lejeune Water

        Litig., No. 7:23-CV-897, 2023 WL 6053054, at *5 (E.D.N.C. Sept. 15, 2023) (unpublished)

        (discussing the interplay between the first-to-file rule and the appointment of interim class counsel

        under Federal Rule of Civil Procedure 23(g)). Moreover, most putative class members have

        potential damages ranging from $3,980 for replacement water filtering, $1,818.15 for hot water

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        heater replacement, and $40S a year for purchasing replacement water bottles. See [D.E. 336-28] •

        ~146-47, 49. Such relatively small individual damages, even if consolidated, are minimal when

        compared to the time and expense needed to pursue individual recovery.

                Defendants also cite the NCDEQ Consent Order and argue that this administrative approach

        serves as a preferable alternative to a class action. See [D.E. 397] 9. The NCDEQ Consent Order,

        however, specifically excludes the claims of plaintiffs in this case. See [D.E. 336-32] 1 36.

        Moreover, defendants have not demonstrated how plaintiffs could present their private-law claims

        to NCDEQ and receive relief. Because the NCDEQ Consent Order does not and cannot resolve the

        private-law claims of the putative class, the court rejects defendants' arguments regarding the

        NCDEQ Consent Order. Thus, the court finds that the first and second factors favor certification.

                As for the desirability ofconcentrating the litigation in the Eastern District ofNorth Carolina,

        the parties agree that this court is the proper forum for this class action. The alleged torts occurred

        within the Eastern District ofNorth Carolina, and plaintiffs and much of the relevant evidence are

        located within the district. See [D.E. 334-1] Sl. The court finds that the third factor favors

        certification.

                As for the likely difficulties in managing a class action, defendants argue that a class action

        in this case would be difficult to manage because of difficulties of common proof under Rule 23(a)

        and because plaintiffs are pursuing an "immature tort." See [D.E. 397] 10. The court disagrees. As

        discussed, the question ofPFAS exposure, liability, and damages can be readily tried with class-wide

        evidence and produce class-wide answers.

                The cases that defendants cite in opposition are distinguishable. For example, Castano v.

        American Tobacco Co., 84 F.3d 734, 741 (5th Cir. 1996), and In re Rhone-Poulenc Rorer. Inc., Sl

        F.3d 1293, 1296 (7th Cir. 199S), involved sprawling, multi-state classes with overlapping state

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        regulations and law applying across proposed classes. Likewise, individual issues predominated in

        Emigv. American Tobacco Co., 184 F.R.D. 379,394 (D. Kan. 1998), because plaintiffs could not

        demonstrate through common proof in which state or states plaintiffs allegedly became addicted to

        nicotine. In contrast, the putative class members in this case all reside in North Carolina, allegedly

        were damaged in North Carolina, and North Carolina law applies.

               Plaintiffs have demonstrated compliance with Rule 23(b)(3).            Thus, the court grants

        plaintiffs' motion for class certification and certification of the three damages subclasses for: (1)

        Owner-Occupier/Renter Damages Subclass; (2) Purchaser Damages Subclass; and (3) Long-Time

        Property Owner Damages Subcl¥s.

                                                        C.
               Next, the court discusses whether the fourth subclass meets the requirements for certification

        under Rule 23(b)(2). Cf. [D.E. 410-1]. Rule 23(b)(2) authorizes class treatment where ''the party

        opposing the class has acted or refused to act on grounds that apply generally to the class, so that

        final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

        whole." Fed. R. Civ. P. 23(b)(2). Certification under Rule 23(b) is appropriate "only when a single

        injunction or declaratory judgment would provide relief to each member of the class." Wal-Mart

        Stores, Inc., 564 U.S. at 360.

               In plaintiffs' amended complaint, plaintiffs request:

               funding of an epidemiological study to investigate the full scope of the health impact
               of GenX and other PFASs on the affected population, and establishment of medical
               monitoring to provide health care and other appropriate services to Class members
               for a period of time deemed appropriate by the Court.

        Am. Consol. Class Action Compl. ,r 185. Before plaintiffs filed their amended complaint, the court

        issued an order on April 19, 2019, holding that medical monitoring is not available as a matter of


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        North Carolina law. See [D.E. 109] 21. On September 24, 2020, the court reaffirmed its dismissal

        of plaintiffs' request for medical monitoring injunctive relief. See [D.E. 249] 5, 8-9. On June 26,

        2023, the court again reaffirmed its views. See [D.E. 410] 1-2.

                Plaintiffs request an epidemiological study and "science panel." See [D.E. 334-1] 51-53.

        Plaintiffs' expert, Dr. Savitz, outlined the process for carrying out the proposed epidemiological

        study. See [D.E. 336-25] 17-20. Dr. Savitz proposes that this study, among other things, collect

        "baseline blood specimen to measure PFAS and clinical chemistry (cholesterol, uric acid, etc.),"

        ''measure height and weight," construct a "health history (with information on health care providers

        who diagnosed the condition)," measure "other health determinants (e.g., body mass index, tobacco

        use)," and record "social factors (e.g., ethnicity, socioeconomic status)." Id.

               Dr. Alexander, a rebuttal witness for defendants, notes that there are significant

        methodological overlaps between medical monitoring andepidemological studies. See [D.E. 379-3]

        8. Although these overlapping methodologies "are not unique to medical monitoring," the overlaps

        are significant. See id.

               The methodological overlaps between medical monitoring and the proposed epidemiological

        study and "science panel" are materially indistinguishable. The court declines to recognize the

        proposed epidemiological study and "science panel" subclass because the proposed subclass conflicts

        with North Carolina law and Rule 23(b)(3). See In re E.I. DuPont de Nemours & Co. C-8 Pers.

        Injury Litig., No. 22-0305, 2022 WL 4149090, at *7 (6th Cir. Sept. 9, 2022) (unpublished) (a

        ''research class" fails to meet the requirement ofRule 23(b)(2) that an injunction must provide relief
  \
        to each member of the class; even if a plaintiff's ''research class" can ask a "common

        question-whether exposure to PFAS is sufficiently harmful to warrant medical monitoring....

        [T]hat question having a common answer seems highly suspect." (emphasis removed)); see also

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        [D.E. 410-1] 1-2; [D.E. 249] 5-9; [D.E. 109] 20-21.

                In opposition, plaintiffs argue that the Sixth Circuit's decision in DuPont is distinguishable

        and contend that the Sixth Circuit based its decision solely on the fact that the plaintiffs in that case

        sought to certify a nationwide class and had no µiethod ofdetermining which putative class members

        were exposed to which defendants' PFAS. See [D.E. 401-1] 7-8. Not so. In declining to certify

        the proposed class, the Sixth Circuit observed that potential members of the epidemiological study

        would have been "exposed in different ways, in different amounts, and at different times" to PFAS.

        See In re E.1. DuPont de Nemours & Co. C-8 Pers. Injwy Litig., 2022 WL 4149090, at *7 (quotation

        omitted). Although plaintiffs in this case do not seek a nationwide class, the potential differences

        in timing and amount ofPFAS exposure among the over 100,000 putative members ofthe class raise

        materially indistinguishable concerns to those the Sixth Circuit expressed in DuPont. Accordingly,

        the court declines to certify plaintiffs' requested Rule 23(b)(2) subclass for an epidemiological study

        and "science panel."

               Alternatively, plaintiffs argue that the court should certify a common issue class concerning_

        an epidemiological study and "science panel" under Rule 23(c)(4)(A). The court will not use Rule

        23(c)(4) to certify an issue which will simply recreate plaintiffs' dismissed request for medical

        monitoring. Cf. Hooker, 2023 WL 3020967, at *15 ("Rule 23(c)(4) ... speaks of certifying

        particular issues 'when appropriate,' and thus courts should use Rule 23(c)(4) only where resolution

        of the particular common issues would materially advance the disposition of the litigation as a.

        whole." (quotation and alteration omitted)). Thus, the court denies plaintiffs' request to certify this

        common issue class under Rule 23(c)(4)(A).

               In light ofthe court's conclusions concerning plaintiffs' proposed epidemiological study and

        "science panel" subclass, the court denies as moot defendants' motion for partial judgment on the

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        pleadings. In that motion, defendants asked the court to dismiss plaintiffs' claim seeking the

         establishment of an epidemiological study and a "science panel." [D.E. 346].

                                                           D.

                Ultimately, the court grants in part plaintiffs' motion for class certification, but excludes the

        proposed epidemiological study subclass. The court bases its conclusions on class determinations

        on the current record. The court reserves the right to decertify or modify the class in light of

        developments in the litigation. See Gen. Tel. Co. of the Sw., 457 U.S. at 160; Williams v.

        Martorello, 59 F.4th 68, 92 (4th Cir. 2023); Fed. R. Civ. P. 23(c)(l)(C).

                                                           V.
                In sum, the court DENIES AS MOOT defendants' motion fodudgment on the pleadings

        [D.E. 346] and DENIES defendants' motion to stay [D.E. 361 ]. The court also DENIES defendants'

        motions to exclude plaintiffs' expert witness testimony of Sunding, Gamble, Gray, and Griffith

        [D.E. 348, 356, 359]. The court GRANTS defendants' motion to exclude plaintiffs' expert witness

        testimony from Duncklee [D.E. 354] and from DeWitt and DeGrandchamp [D.E. 357]. The court

        GRANTS in part plaintiff's motion [D.E. 334] for class certification EXCLUDING the alternative

        diminution-in-value remedy and EXCLUDING the epidemiological study damages subclass. The

        court APPOINTS Cohen Milstein Sellers & Toll PLLC and Susman Godfrey LLP as co-lead class

        counsel. The parties shall meet and confer concerning future proceedings and submit a proposed

        schedule no later than November 1, 2023.

                SO ORDERED. This_±_ day of October,. 2023.




                                                                  J     SC.DEVERID
                                                                  United States District Judge

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